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         Theory             of the Perfect                    Game Competitive
         Balance in Monopoly                                  Sports Leagues


         John Vrooman




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         revenue
         Abstract                Based    on the limiting assumption that sports owners are profit maximizers

         the    invariance          proposition             holds   that   revenue sharing has       no impact on competitive
         balance       in sports        leagues        If   owners are win maximizing sportsmen instead                       then

                    sharing can lead to increased competitive                         balance   and higher payrolls Evidence

                      sportsman                         provided       by erosion of monopsonistic




         evidence
         of the                          effect   is                                                             exploitation    in the


         four       major American           sports leagues            where players       now share about        60    of   revenues

         Monopsony power erosion forces sportsleague                                                                         monopoly




         question
                                                                                         cartels to exploit statutory

         power        in   monster deals           for      media     rights   fees   and public venue subsidies New
                     on competitive balance                   suggests     that revenue     sharing leads   to    increased balance

         with       or without      team salary caps                Optimum competitive balance             is   an empirical

                    and    the    answer lies between                random competition          of the   NFL and deterministic
         dynasties         of the    NBA

         Keywords                 Professional         sports       leagues     Competitive      balance



         JEL Classification                       L83


               In   theory       there is no difference             between     theory    and practice     In practice   there is

                                                                                                                     ? Yogi Berra



         1 Introduction


         In    theory      the perfect      game is a symbiotic                contest   between   evenly matched        opponents

         The practical economic problem is that games in professional                                 sports leagues         are played




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         between           teams from asymmetric                          home markets                     that    form imperfectly                competitive

         natural cartels             Fortunately            the    natural duality of sports                        leagues     implies that any team

         is   only as strong as its weakest                        opponent              and       that the        success of any league depends

         on the competitive balance                         of    its   teams

               The economics of sports recently celebrated                                           the    golden anniversary                  of its    origin in

         Rottenberg?s           pre Coasian argument                            1956 about the neutral effects                            of free    agency             on

         the    baseball players? labor                   market According                         to Rottenberg?s            invariance proposition

         free agency          for baseball players would                          yield the          same talent distribution                    as the      reserve

         system that          bound            a player      to    one team for life                    The    difference        was         that free       agency

         would         weaken        monopsonistic                 exploitation               of    players         trapped     in the        reserve system

         and allow          players?           salaries to        approach            their    marginal            revenue     product




         exploitation
               In   its   stronger form the invariance proposition                                      also holds that revenue                 sharingwould

         not    affect      the talent distribution                     among teams and would only deepen player
                       The most logical way to decrease                                 the    dominance of large revenue                           clubs is by

         increasing          competition             in local      monopoly markets                         rather than        increasing          monopsony

         power        in the    players?            labor    market The                theoretical            foundations            of   the   economics               of

         sports are         found        in El      Hodiri and Quirk                    1971 and              Quirk and El Hodiri                   1974 The
         modern awakening of                        sports economics                  came when Quirk and Fort 1992 published
         a    popular version              of       Quirk?s early          model followed by two                              separate          adaptations             of


         sports       league        theory      to the      changing            realities          of the     American         sportsscape                Fort         and

         Quirk        1995 Vrooman 1995
               European         theorists            Szymanski            2003 2004 Szymanski                              and Kesenne             2004            have




         competitive
         used       non cooperative                 game theory            to     show that the                invariance       proposition               does not

         hold in open markets                    of European             football and               that revenue           sharing        leads to less

                          balance        The open market distinction may not make any difference                                                     in the        end
         however because both open and closed labor market models are based on assumptions




         owners
         that       owners are        profit        maximizers             It    is   likely        that sports owners are                   sportsmen             who

         sacrifice         profit    in   order to        win Kesenne 1996 Sloane                                   1971 Vrooman 1997a                            2000
         2007 At the limit sportsman owners become win maximizers who spend                                                                        to win at            all


         cost       The sportsman                effect     is    constrained by               zero profit           rather    than       maximum profit
         and    the distinction                between       closed or open labor markets                             becomes             academic           If



                are    sportsmen then                intuition prevails                over paradox                 and revenue           sharing        increases

         competitive           balance

               As ? natural cartels? the four major North American                                                 sports leagues           have   historically
                                                                                                               1
         held majorleague                  monopoly               and monopsony power                              There is emerging evidence                           in

         this       analysis    that      these leagues                 have     become             dominated          by sportsman owners who
         are    willing to pay players their average revenue                                            product in order to win The players?

         shares       of   revenues            have   recently          exceeded          60 percent               in each    of the       leagues Erosion

         of    monopsony power has forced sports league                                            cartels to exploit their monopoly                              power

         in negotiation             of   media rights             fees    and     extortion             of public      venue         cost     subsidies




         1
              All four leagues were granted               antitrust      immunity to negotiate                television    rights    fees    collectively        in   The

         Sports Broadcasting             Act   of                 MLB was originally granted antitrust immunity
                                                    1961 Major League             Baseball

         in Federal Baseball Club of Baltimore v The National League 259 U S 200 1922 continued in Toolson v

         New York Yankees 346 U S 356 1953 and Flood v Kuhn 107 U S 258 1972 MLB antitrust immunity
         in labor     matters was later reversed             in   The Curt Flood Act               of   1998




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         Theory      of the     Perfect     Game                                                                                                         7




         baseball
         average
         led
               In




         leagues
                by
                     2007
                         the

                    MLB with
                           have
                                the    four big leagues

                                National       Football

                                              6 billion

                                     collectively
                                                           Given
                                                                  generated

                                                               League



                                                          negotiated
                                                                             NFL with
                                                                       statutory

                                                                             total
                                                                                     monopoly


                                                                                          exemption

                                                                                        television
                                                                                                        revenues



                                                                                                          from antitrust

                                                                                                        rights   fees
                                                                                                                        of

                                                                                                     7 billion and Major League
                                                                                                                               almost



                                                                                                                                   law

                                                                                                                           that currently
                                                                                                                                            20 billion



                                                                                                                                            these   four



                    5.6 billion annually              through         2011 Annual NFL                   rights   of     3.7     billion     double   the

         national          TV money of the other three leagues combined                                       From 1990 through               the    end

         of current            contracts       the four leagues         will have received over  80 billion in TV rights
         fees including                   50 billion      in   the    NFL Under threats of relocation monopoly teams




         remarkably
         and leagues              have      also    extorted public           subsidies for           over    half    of       30 billion    in venue

         construction             costs      since    1990
               In    the      midst    of    this   revenue      revolution player               cost    controls       have     become
                    similar All leagues               except     MLB have imposed salary caps just below 60 percent
         of    league          revenue        The wealthiest league                is   also the     most egalitarian and competitive
         The NFL shares two thirds                                7 billion in revenue                                          MLB that shares




         followed
                                                            of                                          compared to

         40 percent              the    NBA at 25 percent                   and the        NHL       with     16 percent          As expected          in




         empirical
         sportsman leagues                    the    NFL is by far the most competitive of the four leagues
               This paper             begins with         a restatement            of the     general theory of sports leagues

                         by a comparison of operating rules of the four leagues After addressing
                questions about the evolution                         of    monopsony and monopoly power during the                                  free


         agency           era     post 1976 the argument concludes                                with    a   comparison           of   competitive

         balance           in the     four    major    American leagues




         2 Sports League Theory


         2.1    Profit         Maximizing Owners



         Conventional                 theory    of sports        leagues      Fort and Quirk              1995 Vrooman 1995 begins
         with       simultaneous              maximization            of twin        profit      functions       in    a simplified         two team
         league



                                                           t1 t2 _ ct1                                               t2 t1 _ ct2




         Revenue
                           _1          R1     m1 w1                                  _2         R2    m2 w2                                            1

         A profit maximizing owner?s objective                                 is    to   max profit          _1 with        respect    to talent     t1
         In    contrast          a   sportsman owner?s                goal    is to maximize             wins    w1 given _1 _ 0


         probability
                    R1    of   team 1 is a function              of   its   market        size   m1 and its winning               percentage         w1
         which           is determined          by a contest          success        function         CSF of standard logistic
                     form   w1 t1 t2  t1 t1 t2 first used in a sports context by El Hodiri and
         Quirk           1971 The zerosum nature of an n team league requires   wi    n 2 and
         _ w1/_          w2          _ w2/_   w1       _1
               At the profit maximum team 1 sets payroll ct1 by acquiring                                             talent until      themarginal

         revenue           product        of talent       MRP1        is    equal to      the    marginal cost          of     talent   c    marginal

         factor          cost which           is    assumed      to    be    the    same for both teams                 that share        a common
         talent      pool       T

                                          MRP1            MR1MP1              _ R1/_ w1)(_ w1/_ t1                         c                           2

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         Simultaneous              profit    maximization                    mutual     best     response               for    both      teams yields



                                         MRP1                _ R1/_ w1)(_ w1/_ t1                          c            MRP2                                           3

         The    logit   CSF w1                   t1 t1        t2 yields the marginal product of talent                                            MP1

                                         MP1            _ w1/_      t1          t2
                                                                                     _ t1_ t2/_ t1                 t1         t2
                                                                                                                                   2
                                                                                                                                                                       4

         which   satisfies _ w1/_ t1  0 _ 2w1/_ t21    0;_ w1/_ t2    0 In league                                                                  equilibrium

         the   MRP for both teams is equal to their mutual wage rate c

               MRP1           MR1MP1                    _ R1/_ w1               t2
                                                                                     _ t1_ t2/_ t1 t1                         t2 2            MRP2                 c   5

         2.1.1    Open and Closed Case


                                                                                                                   _
         In a   closed       league         an inelastic        supply          of skilled        talent       T              t1        t2   is   fixed and one

         team?s      talent    gain         is   another team?s               zero sum talent loss _t1/_ t2                                    _ t2/_        t1
                                                                                                                                                                       _1
         Substitution         into       5 yields the closed league equilibrium condition




         exogenous
                                                                                                      _
                                                                MR1              MR2             cT                                                                    6

         By comparison teams                         in an   open    league          face    an elastic supply of talent T                              at    an

                   wage       rate    c _ In an open league team 1 talent acquisition                                                  has no      effect          on the

         talent of team        2 such that _ t1/_ t2                         _ t2/_    t1        0 Substitution into 5 yields the open
         league      solution


                                                                                                       _
                                                             MR1w2               MR2w1                c    T                                                           7

         2.1.2    Asymmetric             Markets



         An asymmetric revenue                        advantage          m1           m2 for team 1 can be shown through amodel




         Fanpreference
         that generalizes            profit max solutions with                         a parameter_                       1 The Yankee paradox is
         the   empirical argument that fans                         prefer       close wins           instead of lopsided                      outcomes
                             for    competitive balance                      implies strictly          concave            revenue             functions            where

          1
         _ _     0       2




                             _ _w1                   1_   _ w1w2 _                                                      1_         _ w1w2 _ ct2                        8


         simplifies
                 _1                                                              ct1        _2        _w2


         A Yankee paradox suggests _                                   5 and          the    zerosum constraint w2                                 1 _ w1
                     8
                                    _1           _     w1 _ 5w 1
                                                                         2
                                                                              _ ct1         _2        w2 _ 5w 2 _ ct2
                                                                                                                          2
                                                                                                                                                                       9



         competition
         2




         2007
             Post season championship

                 For discussion       of the
                                                     tournaments

                                                 champion     effect
                                                                     introduce        revenue convexity

                                                                         of UEFA Champions
                                                                                                                   that

                                                                                                       League on European
                                                                                                                          polarizes      regular    season

                                                                                                                                             football   see Vrooman




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         Theory      of the   Perfect   Game                                                                                                                9




         Fig 1       Invariance    Proposition




         In a closed          league from          6 simultaneous                profit    maximization yields


                                                                                                           _
                                                                                                                                                       10



         respective
                                                  MR1          MR2             _w2         w1         cT


         Team        1 dominates a closed league by                              imbalance                     w1 w2                 _ with
             _
                                                                           the                       ratio

                   team win percentages                w1             1         _ and w2              1        1           _   League payroll is

          _1
         cT
               _
                  1                _      and respective           team payrolls           are ct1         w1cT
                                                                                                                           _
                                                                                                                                _2             _ and
                                                                                                                                                   2


         ct2         w2cT
                               _
                                        1   1         _2 The closed league                   solution          is   shown       at    A in Fig 1 for
         _         2 where w1 w2                  667 333.3
               By comparison the                 _model open league                  solution      from            7 is

                                            MR1w2              MR2w1              _w 2 2
                                                                                                w12        c
                                                                                                               _
                                                                                                                   T                                   11



         percentages
         An open
           21 11   w1
                        league has greater competitive



         The open league Nash
                              _1             _1 2 and w2
                                                 solution     at
                                                                           balance      w1 w2      _1 for team win
                                                                                       _1 2 as suggested in Vrooman
                                                                   B is compared to the closed league
                                                                                                                       2




                                                                                                                                     solution
                                                                                                                                                 1995
                                                                                                                                                 at    A in
         Fig 1 for _               2 where w1 w2                   586 414

         2.1.3      Invariance          Proposition



         The strong form of the invariance                           proposition           holds      that         competitive         balance         in   a

         sports      league        will   be the      same with           or   without       revenue           sharing         In    effect    revenue



         3
             Revenues and       costs are hypothetically       shown      in    millions   for _      2 in Fig         1 League       revenue reaches       a

         maximum at           116.7million       R1         88.8million and       R2        27.7million league payroll is                     66.7million

         ct1         44.4million and       ct2        22.2million _1              44.4million        and _2                5.5million




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         sharing serves                only      to      shift    monopsony                    rent   from players            to   owners       Strong form

         invariance        can         be    shown with                    a   straight        poolsharing formula R 1                       _R1           1   _
         _     R1         R2 2 where each team blends an _share of                                                      its    revenue      with   an equal
          1    _     _   share         of   a   league           revenue             pool where _ _               0 1 The              league?s    zero sum

         win constraint implies _ w1/_                                t1           __ w2/_ t1 and closed league                     _ sharing from 10
         yields the       _     solution            for    MR 1                MR 2           c T



                       __w2                 1_          _ _w2 _ w1                        2      _w1    _ 1 _ _ _w2 _ w1 2                                  12


         This        results in the             same imbalance                       w1 w2             _    as   10 regardless of the level of
         _ sharing The second term                           in       12 vanishes                for both    teams at equilibrium               _w2       w1
         and    the    lower league payroll c                              T         __w2             _w1        __1               _   reveals the      degree

         of talent       exploitation               equal        to    the         league     pooled revenue            share       1 _    _ The        perfect

         syndicate        solution              _          0 is shown at C in Fig 1 for _                                     2 where the invariance
         proposition           still    holds and the cost per unit of talent has been reduced to the reservation

         wage
               By comparison the open league                                        revenue sharing          solution      from        11 implies


                                   2_ _w 2 _ w 21   2
                                                                               1_      _ _w2 _ w1 w1                      w2           0                    13


         If   there is    no revenue             sharing              _            1   then the second term vanishes and      13 reduces
                     Nash open league solution                                 w1 w2             _1 2 in 11 but as the league approaches
                                                        _0
         to    the

         a perfect       syndicate              _                     the first        term vanishes          and   the    second       term approaches

         the    closed    league            solution10 At the revenue sharing limit _
                                                             w1 w2                      0
                                                                                       _ in
         open and closed league solutions are identical at C in Fig1 Revenue sharing in an

         open        league     reduces             competitive                    balance     and    allows teams to              collusively     maximize

         league cartel revenues                         as suggested                 in   Szymanski         and Kesenne             2004


         2.1.4       Payroll Cap in a ProfitMax League



         A league wide payroll cap constrains each team?s payroll to a constant _share of the
         average club?s revenue cTw1     _ R1 R2 2 If CAP1 is defined as an isopayroll
         cap constraint            for team 1              locus of            _R1 R2 2                for all   w1      the       closed league       solution

         is



                                                 CAP1                 MR2                 _ R1        R2 2w1             cT                                 14


                                                                                              team 1 _        _ 4_2 1                  _                  _2

         capconstrained
         In    order     for    the     payroll cap               to constrain                                                              1      _
         and    perfect        league        balance             w1                w2 requires a cap of _                     1.33 1         _     The
                               solution          is     shown at B in Fig 2 for _                             2 and _              44 As also shown in
         Kesenne          2000 the effect of the payroll cap on team 1? s profit is ambiguous                                                          because

         gains from lower                   payroll        5 c_            c
                                                                               _
                                                                                   T are offset by revenue              losses from         winning      fewer

         games         shaded          triangle between                    MR1 and cT                 Team    2?s improvement              is unambiguous


         because        lower          payroll and higher                          revenue     increase team 2?s profits from the                      triangle
                                                                                                                    _
         between         MR2 and cT                     to the    triangle           between         MR2 and c T


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         Theory    of the    Perfect    Game                                                                                                11




         Fig 2     Payroll    Cap and Revenue            Sharing   in Profit   Max   League




         2.1.5    Joint      Payroll Cap and Revenue                      Sharing



         Team      1 has an incentive                   at   B to circumvent         the   cap because        MR1            MR2 at 500
         The dead weight                loss      shaded       triangle    between MR1          and   MR2 suggests            mutual gain

         from     a   revenue sharing                  side   deal between         clubs      As more revenue           is   shared    MR1
         and MR2       are vertically displaced                    downward in Fig 2 and league equilibrium between
         MR 2 and CAP1 moves along CAP1 from B to C CAP1            no longer a constraint             is



         for team 1 payrolls below C where league equilibrium is restored at MR     MR 2
                                                                                                    _ As _ _ 0 league _ max
                                                                                1

         and    the   original state of                league      imbalance       w1 w2
         equilibrium         C approaches C at the limit This leads to the conclusion that when                                        taken

         alone    a salary         cap in     a   _ max league            will   constrain large      market teams and improve

         competitive          balance        When a payroll cap is combined with revenue                              sharing however

         the   disincentive            to   win for both teams negates                  the   cap   and the league           returns   to   its


         original state           of   imbalance         w1 w2            _
               Apayrollminimum                    is   necessary    to create     competitive balance             in a profit   max league
         with     revenue         sharing If           the    payroll minimum is set at             MIN2            _CAP2 _            1    in

         Fig 2 league revenue sharing equilibrium would progressively follow the path from B
         to    B along CAP1 At B the league                          is   constrained by CAP1               MIN2 at w1 w2               1_
          w1          600 for _                66 in Fig           2 With        additional    sharing      the    league    moves along

         MR 1         MIN2 until team 1 payroll falls to the point where both clubs are symmetrically
         constrained         at    500 by         the payroll minimum at               MIN1         MIN2          CAP2 and MIN1 are
         not   shown in Fig             2



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         12                                                                                                        J Vrooman




         Fig 3    Payroll   Cap and Revenue      Sharing     in Sportsman   League




         2.2    Sportsman League



         In    sportsman leagues             team owners are willing to            sacrifice profit    for winning      At the

         limit    a pure     sportsman        becomes        a win   maximizer constrained           by season length and
         zero profit     rather     than     maximum profit such            that   R1    ct1   and    R1 w1       ct1 w1
         cT     where t1        w1T          The sportsman league win max solution becomes




                                                        AR1          AR2        cT                                            15




         This    is   true whether the talent         markets are open or closed             Substitution    of   9   into    15
         yields the      pure sportsman         _ model result


                                  AR1          AR2      _      1   _ 5w1           1 _ 5w2           cT                       16




                                                                                   _max solution w1 w2                        _
         1                                                                   11 _                                 _1 _
         with    less balance       than     either   the    open    or   closed                                         2_

                2_    _     with win percentages             w1       2_ _                   and w2         2_
         Team 1?s total win max dominance of team 2 is shown                            at   A in Fig3 for _            2 The
         bad    news    for a win max          league   is   selfdefeating dominance           by    the   large market club

         at   A The good news           is   competitive balance          can   be modified by either revenue          sharing

         or a salary     cap   or   both



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         Theory        of the   Perfect         Game                                                                                                                                          13




         2.2.1         Revenue           Sharing in Win Max League



         To show              that   strong form invariance                              does not hold in                      a   win maximizing league                                     the

         pool sharing formula 12 can be modified                                                  for    sportsmen so that                      AR                   AR                  c   T
                                                                                                                                                          1               2




         _R1 w1                   1 _         _ R1                  R2     2w1             _R2 w2                      1   _ _ R1                    R2             2w2              c   T
                                                                                                                                                                                             17


         If   there is         no revenue sharing                          _          1    then       the     second               term vanishes                   for each          team
                                     16 In a pure syndicate _ 0 revenues and payrolls

         competitively
         and      AR1             AR2                cT       as in




         payroll
         become the same for each team R1    R2 2 which implies that the league is
                               balanced             at   w1          w2              500 A pure sportsman syndicate                                           is   shown         at      B in
         Fig 3 In a win max syndicate league                                             payroll is      equal to total revenue which                                     is divided

         equally between                      clubs       c    T 2 The _                 solution       yields pure syndicate                             revenue         and

                  of   c   T         375 1                _      or       112.5million for                  _           2 in Fig 3 Both clubs have zero
         profits because                  all       revenue          is   paid        to the     players          to    maximize wins                         League           payroll

         increases

         revenue
                               with revenue sharing toward

                              _w2             w1 requires _                           _4
                                                                                           the   league

                                                                                                 _3    _      _
                                                                                                                  total

                                                                                                                        1      revenue

                                                                                                                                     _4
                                                                                                                                               maximum Maximum
                                                                                                                                               _3    _         3_         1           So if

         _         2 then _                   64 for maximum revenue                                  in a sportsman league




         2.2.2         Payroll Cap in Win Max                             League


         To see the             equalizing                effects         of a       separate         payroll cap                  in   a win maximizing league

         reconsider the                  cap solution from                          13 revised for a sportsman league CAP1                                                     AR2
           _
         c    T


                                                                                     5      _w1 _ 5 _                          1w                                   1 _ 5w2
                                                                                                                                         2
         _ R1              R2        2w1                 R2 w2             _                                                             1     2w1

                                                                                                                                                                                             18


         Competitive                 balance             at    w1          w2              500 requires                    a   payroll         cap        _           2    1                 _
         A payroll cap                   of     _         67        for    _             2 is shown in Fig 3 at C where CAP1                                                         AR2
         Under         the     isopayroll cap payroll for each team is c                  T 2 R1 _                  _
                                                                                                                                                              R2     at   w1          w2
         Team          1? s    profit     rate is             R1 _ and team 2?s profit is zero because                                               it    spends          all       of its

         revenue           on its payroll League                               revenue         maximum obtains                                 the   payroll              cap        set      at

                                         _
                                                                                                                                          if


         _        4_2 1                         1         _         _2         If    _     2 then _                76 payroll cap yields the revenue
         maximum _w2                              w1 in a sportsman league The combined implementation of a
         payroll cap                 _           67 and equal revenue sharing _       0 virtually clones equality
                                                c T 2 at B team payrolls c   T 2 at C and profits c _ c _ T 2 in
                                                                           _
         in   team revenues
         Fig 3 Each team has the same revenue payroll and                                                              profit           and total payroll is capped
         at   two thirds of league                        revenue

           These        lead   opposite conclusions
                               results                  _ max and win max leagues
                                                          to                                                for                                                                               In

         _ max leagues revenue sharing does not increase competitive balance but does                                                                                           it



         increase          talent        exploitation Players are paid                                 less     than       their marginal revenue                             product

         by the amount of revenue                                   that is         shared       In   contrast             win max leagues                          initially            have




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         sportsman
         14                                                                                                                              J Vrooman



         greater competitive             imbalance than profit max leagues but revenue                                     sharing in

                 leagues       can   potentially      increase          competitive         balance        and lead to higher revenue
         and    greater payroll toward             the league            maximum This is because                          sportsmen owners

         pay    players their          average    revenue         product to maximize wins




         3 North American Sports Leagues


         The underlying           dynamic        of the    modern history of American                        sports leagues             is found in




         sharing
         the    simple duality of the games themselves                           Each league has dealt with                       the    balance of

         competitive individualism versus                     the   league       collective        in its   own way As recent power
         conflicts       have been resolved           the    various collective              bargaining          solutions         are   becoming

         remarkably           similar Internal        policy questions center                      on the impact            of     revenue

                and     salary controls       on competitive balance and monopsony                                    exploitation        of   talent

         Deeper         answers lie hidden          in the        social      surplus      extracted        by   local      monopoly            teams

         playing        in    global    monopoly          leagues        Practical        implications           of   the theory of            sports

         leagues        can be seen through           a   comparative analysis of the four major North American

         sports    leagues? operating regimes                     as they     have evolved           in    Table      1




         NFLAFL
         3.1    National       Football      League



         The     solidarity of         the National        Football       League           NFL was forged in the heat of the
         epic    war with the American Football League that began                                    in 1960          By the time the
                  peace agreement was reached                     in    1966 the powerful super league                           had rescued       its


         monopsony power from the                     erosive forces           of rival league competition Following                               the

         twenty six team merger of 1970                      16 NFL clubs and 10 AFL clubs                                the   NFL added two
         clubs     in   1976 two more in 1995                     and    one team each             in 1999       and      2002 Empowered




         competitively
         with    a legalized monopoly broadcasting cartel in 1961 and relocation                                                extortion      threats

         for    public       subsidy    of   venues       after   1982        the    NFL has emerged as the most
                      balanced         and most economically                  powerful        sports        league        in the    world Total
         NFL revenues            were        6.4 billion in 2006           and estimated            at   over         7 billion in 2007.4
               After the 2002 expansion and realignment 32 NFL clubs were organized into eight

         divisions       of four teams The regular                  NFL season lasts 16 games                         and the      top    12 teams

             eight division      leaders with four first            round byes and four wild card                          teams qualify for




         relatively
         a    four round knock out championship                           tournament              In the    thirteen       seasons since           the




         quality
         1993     Collective         Bargaining       Agreement               CBA and the hard salary cap in 1994 ten
         different       clubs    eight of last ten          have been Super Bowl ChampionsAs                                     a result of


                      few home games season tickets are for eight regular season and two preseason
         games NFL attendance                    is inelastic          with    respect      to    both ticket         price      and    team
                This low revenue             riskvariance is            reflected in the          4.7 value revenue                multiple used

         by Forbes            The average NFL club in 2006 was valued by Forbes at                                               957 million on

         revenues        of    204 million Clubspecific                   risk      is   diversified       by extensive            revenue shar




         4
              NFL revenues were double those of the English               Premier        League    EPL which were               2.67 billion   in 2006


         and    3.36 billion    in 2007?   08



         123
      Table         North   American Sports League                                 Operating                 Rules




               1
                                                                                                                                                                                                                                                                                                                                                                                 Theory




      League




                                         NFL
                                                                                                                                                                                                                                                                                               NHL




                                                                                                                                  MLB
                                                                                                                                                                                                          NBA
                                                                                                                                                                                                                                                                                                                                                                                 of the




                                                                                                                                                                                  162
      Size Season                               teams                              divisions                        games                teams                divisions                          games           teams                    divisions                                 games              teams                  divisions                                  games




                                         32
                                                                                                              16
                                                                                                                                 30
                                                                                                                                                                                                         30
                                                                                                                                                                                                                                                                             82
                                                                                                                                                                                                                                                                                              30
                                                                                                                                                                                                                                                                                                                                                                   82




      Playoffs                                 rounds                                teams                   byes                   rounds                  teams            wild cards                        rounds                      teams                                                    rounds                        teams




                                                                 8 12
                                                                                                         4
                                                                                                                                                                       2
                                                                                                                                                                                                                                                                                                                                                                                 Perfect




                 size                           active                                   total                                           active                 total                                            active                       total                                                    active                       total




                                        4 45
                                                                              53
                                                                                                                                 3 25
                                                                                                                                                       6 8 40
                                                                                                                                                                                                         4 12
                                                                                                                                                                                                                                   6 16 15
                                                                                                                                                                                                                                                                                              4 20
                                                                                                                                                                                                                                                                                                                         6 16 23
      Roster




                                                                                                                                                                                                                                                                       NBA
      Bargaining Agreement                          years 2006?                                          NFLPA                   Five years 2007?                                                                years 2005?                                                                             years 2005?




                                                                                                                            is
                                                                                                                                                                                 MLBPA                                                                                                                                                                      NHLPA




                                                                                              11
                                                                                                                                                                                                                                                         11
                                                                                                                                                                                                                                                                                                                                                11




                                         Six
                                                                                                                                                                                                         Six
                                                                                                                                                                                                                                                                                              Six
                                                                                                                                                                                                                                                                                                                                                                                 Game




                                                                                                                                                                                                                                                                                                                                           out




                                                                                                                                                                                      was
                                                                                                                                                                                                                                                                       99
                                                                                                         before                               strong 2002                                                      option              year 1998?                                                       option                                                 cancelled




                                                                                                                                    is
                                               weak decertified                                                                                                                                                                                                                                                         Lock




                                                                                                                                                                        11 CBA
                                                                                                                                                                                                                             out
                                                              free                                                                  first
                                                                                                                                                                                                                                                                                                                       05




                                               1993                                agency                                                       without stoppage                                               lock                     only work                                                   2004?                     season
                                                                                                                                                                                                               stoppage

                                                                                    free                            after                                      free                         after                                           after                         contract                                                                          after
                                                                                                                                                                                                                                                                                                                                   age




      Free Agency       Conditions      Unrestricted                                           agency                            Unrestricted                          agency                            Unrestricted                                                                         Unrestricted
                                                                                                                                                                                                                                                                                                                                                     27
                                                                                                                                                                                                                                                                                                                                                                         4




                                                                                                                                                                                                                                                                1st
                                                    years             Restricted                            after                             years     Arbitration                                            with first                 refusal               rights                              years                         Restricted                            under
                                                                                                                                                                                                                                                                                    to




                                           4
                                                                                                                     3
                                                                                                                                   6
                                                                                                                                                                                  3?
                                                                                                                                                                                        5
                                                                                                                                                                                                                                                                                                                       NHL




                                                                                                                                                                                                                                                                                                                        after
                                                                                                                                                                                                                                                                                                     age




                                               years                                                                                years                                                                      team                                                                                                                 2008
                                                                                                                                                                                                                                                                                                                27




      Mean     Salary                     1.40M                               2007 from                            395K           2.95M                     2007 from                 579K                5.22M                           2007 from                             717K            1.77M                         2007 from                             221K




                                                               in
                                                                                                                                                     in
                                                                                                                                                                                                                                   in
                                                                                                                                                                                                                                                                                                                       in




                                                      1990                                                                                    1990                                                                    1990                                                                                     1990




                                               in
                                                                                                                                    in
                                                                                                                                                                                                                in
                                                                                                                                                                                                                                                                                                     in




                                                        cap
                                                                                                                                                                                                                      cap
                                                                                                                                                                                                                                                                                                                 cap




                                 Tax




                  Cap
                                                                                                                                                                                             of
                                                                                                                                                                                                                                                                                   of
                                                                                                                                                                                                                                                                                                                                                                   of




                                                                     since                                                                                                                               Soft
                                                                                                                                                                                                                                                    84
                                                                                                                                                                                                                                                                     57
                                                                                                                                                                                                                                                                                                                                                 57




      Payroll           Luxury          Hard                                                                                     Luxury                                                                                            1983?                                                      Hard




                                                                                                                                                 tax
                                                                                                                                                               CBT
                                                                                           1994                                                                22.5                                                                                                                                                          2005
                                                                                                                                                                                                               basketball                  related                                                                      related




                                               57?
                                                                                         TR
                                                                                                   2006?                            payroll over                     148M
                                                                                                                                                                  2007                                                                                                income                        hockey                                      revenue




                                                                           of

                                                        58
                                                                                                                    11
                                                                                                                                                                                                                                             cap
                                                                                                                                                                                                                                                                                                      HRR




                                                                                                                                                                                                                BRI
                                               109M 2007                                            116M                                155M              2008 162M                                                          2008                              55.6M                                                                                               2007
                                                                                                                                                                                                                                                                                                                       Cap
                                                                                                                                                                                                                                                                                                                                         44M
                                                                                                                                                                                                                                                                                                                                                           in




                                                                                                                                                                                                                                                                       cap




                                               2008                                                failsafe                             2009              170M 2010                                            minimum                                                                                 50.3M                      2008 Minimum
                                                                                                                                                                                                                                                          of




                                                                                         60
                                                                                                                                                                                                                                                                                                                             in




                                               trigger                                   Minimum                                         178M             2011 30%?                                            Luxury                                    payroll                   above                       payroll range
                                                                                                                                                                                                                                                                                                     of




                                                                                                                                                                                            40
                                                                                                                                                                                                                                           75 on
                                                                                                                                                                                                                                                                                                                                                             16M




                                                                                                                                                                                                                                    tax




                                                                                                                                               2nd?




                                                                                                             cap
                                                                                                                                                                                                                                                                                                                       cap




                                               payroll




                                                                     59? cap 84?
                                                                                                                                                                                                                             BRI




                                                                                                                                                                breach                                                                                                    2008                      below




                                                                                                                                                        3rd




                                                                                         90
                                                                                                                                                                                                                61
                                                                                                                                                                                                                                                   68M
                                                                                                                                                                                                                                                                     in




                                                                                                                                        for
                                                                                     total                                                                                            local                                                 total




                                                                                                   of and
      Local    Revenue                  Gate                                                                 shared              Gate                     venue                                          Gate                                                  revenue                        Gate                           venue                                  media




                                                                           of
                                                                                                                                                                                                                                      of




                                                                                                                                                39
                                                                                                                                                                            23
                                                                                                                                                                                                                            33
                                                                                                                                                                                                                                                                                                                52
                                                                                                                                                                                                                                                                                                                                                      25




                                                                                                                                                                                                                                                                 not
                                                                                                                                                                                                                                                                                                                                               4.5




                                                                                                                                                                                                                                                         is




                                                                                                                                                                of
                                                                                                                                                                                                                                                                                                                   of
                                                                                                                                                                                                                                                                                                                                                               of




                                                                                                                                                                                                                                                                                                                         total                                          local




                                               66
                                                       20 34
                                                                                              20
                                                                                                                                                       16
                                                                                                                                                                                                                                                                                                     20




                                                               Venue                                                                media                             total revenue                            Local             revenue                                     shared




                                                                                                                                                of
                                                                                                                                                       local




                                                                                                                                        31
                                               unshared                            Local media                                                                       revenue                                                                                                                        revenue                       shared




                                                                                                                    is
                                                                                                                                                                                                                                                                                                                             is




                                               insignificant                                                                        shared




                                                                                                            of
                                                                                                                                                                                 of
                                                                                                                                                                                                                                                                       of
                                                                                                                                                                                                                                                                                                                                                           of




                                                                                                                   total                                                               total                                                                                       total                                                                           total




                                                                                              60
                                                                                                                                                                      17
                                                                                                                                                                                                                                                         25
                                                                                                                                                                                                                                                                                                                                               6




      Central Revenue                   National               media                                                             National            media                                               National                  media                                                      National                  media

                                               shared equally                                               year                    shared equally                     Seven year                              shared equally                                             year                      shared equally                                             year




                                                                                                   Six
                                                                                                                                                                                                                                                               Six
                                                                                                                                                                                                                                                                                                                                                     Six




                                                                                                                                                                                      TBS
                                                                                                                                                                                                                                                         TNT




                                                                                                                                                                      FOX




                                               deal                                                                                 deal                                                                       deal                                                                                 deal




                                                                                     11
                                                                                                                                                               13
                                                                                                                                                                                                                                            16
                                                                                                                                                                                                                                                                          and
                                                                                                                                                                                                                                                                                                                                  11
                                                                                                                                                                                                                                                                                                                                               VS




                                                         2006?                                                                                  2007?                                                                       2008?                                                                                2005?




                                                                                                                                        and
                                                                                                                                                                                                                                                                                                                                                                         5M




                                                                                                                                                                     26.8M                                                                                                                                                         Canada
                                                                                                                                                                                  per
                                                                                                                                                                                                                                                                             per




                                                                                     ESPN                                                       ESPN                                                                         ESPN
                                                                                                                                                                                                                                                          31M
                                                                                                                                                                                                                                                                                                                       TSN




                                                FOX
                                                               ABC
                                                                                                            CBS
                                                                                                                                                                                                                ABC




                                                116.7M                                     club                                     club                                                                       club                                                                                             club




                                                                                   per
                                                                                                                                                                                                                                                                                                     CBC per
                                                                                                                                                                                                                                                                                                                                                       81M




                                                                                                                      4.7
                                                                                                                                                                                                 2.5
                                                                                                                                                                                                                                                                                        3.1
                                                                                                                                                                                                                                                                                                                                                                         2.5




                                                R
                                                                                                                                        R
                                                                                                                                                                                                                 R
                                                                                                                                                                                                                                                                                                      R




      Forbes?                                                                                  204M                                                                    170M                                                                               119M




                                        V
                                                                                                                                 V
                                                                                                                                                                                                         V
                                                                                                                                                                                                                                                                                              V




                  Mean Team Value                             957M                                                                               431M                                                                        372M                                                                                      200M
                                               2006 league revenue                                                                  2006 league revenue                                                        2006?                      league revenue                                            2006?                     league revenue
                                                                                                                                                                                                                                 07
                                                                                                                                                                                                                                                                                                                       07




                                                6.36 billion                                                                             5.11 billion                                                            3.57 billion                                                                          2.44 billion




123
                                                                                                                                                                                                                                                                                                                                                                                 15
                                                                                                                                                                                                                                                                                                                                                                                           Case 2:15-cv-01045-RFB-BNW Document 743-21 Filed 09/12/19 Page 12 of 42
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         16                                                                                                                                                J Vrooman



         ing    arrangements               that have characterized                       NFL ?league think? since its                             reinvention          in

         1960
               NFL national                television        annual            rights         have exploded                  eighty fold since the                1970
         merger and               the     League       will        take     in    an average                 of         3.7 billion    annually            2006? 11




         standard
         These        collectively             negotiated           fees       are    60       percent            of    total     revenue        and     are     shared

         equally          among NFL clubs                    NFL local media revenue                                   is   insignificant          Gate revenue

         is   about       20 percent           of    NFL total revenue                        and    it    is     shared      66 34 60 40 after a
                    15 percent deduction                    for game expenses                       in a straight pool               home visitor           formula

         with       the   league          equal      visitor      shares began                 after the          2002 realignment The merging
         importance             of   unshared         venue        revenue           from luxury seats has recently become                                     a chink
         in   NFL solidarity armor Club seats and luxury suites have driven the venue                                                                    revolution

         over       the   last     two decades              in    all    leagues         and un shared                      venue    revenue        has doubled

         from ten to twenty                    percent      of    total    NFL revenue
               While        the      venue      revolution              increases          revenues               of    individual        clubs      the    national




         guaranteeing
         media explosion                  solidifies        the    egalitarian           league           collective            All told a        full   two thirds
         of    NFL        revenue         is   pooled and               shared       equally         among              the   clubs       Important         in

                          a low risk of negative                        cash    flow       is the     league wide                 payroll cap          imposed on

         NFL players since 1994 After decertification                                               and legal victory               the    NFLPA          bargained

         successfully              for free     agency         in       1993 but         it    came        in     exchange         for a    league wide hard

         salary cap at 64 percent of                     defined gross revenues                             DGR Unshared luxury                          seat money

         from the ongoing                   venue      revolution              created          two revenue                 asymmetry problems                   in the

         2006 CBA The NFLPA had a problem with hidden luxury seat money being excluded
         from       DGR and teams playing in older venues complained about the growing disparity
         of    unshared         luxury seat revenues

               As a compromise the 2006 CBA expanded                                                the    revenue sharing base beyond DGR
                                                                                                                                                                        5
         and    the salary           cap percentage                was reduced                 to 59.5          percent of total           football        revenue

         The      payroll cap           was set at           102 million in 2006 compared to                                        94.5million under                the




         certainty
         previous         DGR formula                    109 million in 2007 and                                  116 million in 2008 The NFL cap
         also has a         minimum payroll that progresses in 1.2 percent increments from 84 percent
         to   90 percent of the cap over                     the        course       of the 2006? 11                   CBA Given this cash flow
                      the      NFL has become a fully diversified money machine                                                       Unfortunately               much

         of    NFL        value      is   extracted through                    monopoly              power over an increasingly                            exclusive

         fan base and venue                    extortion          power over the general tax paying public




         Century
         3.2    Major League Baseball



         The dual monopoly                     that characterized                 professional                  baseball        for most of the           20th




         revenues
                  was formed in the National and American League rival wars 1900? 03 that ended



         5
              The cap     in the   2006    CBA was set at               102 million      2006             109 million         2007 57.5 percent of total
                in 2008? 09 and 58 percent                  in 2010?      2011 The fail safe trigger adjustment                       rate is set at     2 percentage

         points     higher 59        percent        2006?   07 59.5 percent                2008?     09 and 60 percent                2010?      11 The minimum
         payroll ratio increases            by 1.2 percentage points              each        year from 84 percent of the cap               in   2006    to 90   percent

         of   the   cap   in   2011       The top 15     revenue         clubs agreed          to   share         430   million    2006? 09 with clubs           in older

         venues whose payroll exceeds 65 percent                          their   revenue and             their   gate revenue      is at least    90 percent      of the


         league average




         123
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         Theory       of the    Perfect     Game                                                                                                                     17




         monopolymonopsony
          AL
         in     an             NL peace settlement                     of    1903 As separate
                                   AL and NL enjoyed remarkable stability for fifty years until
                                 leagues the
                                                                                                                 but    equal    eight team



         a series of post war dual market relocations in the 1950? s The 1950s relocation derby

         was followed by four pre emptive expansions in 1960? 61 to avert                                                             the threat of          a third

                                 6
         rival       league          The two ten team leagues                           subsequently behaved                       as rival       leagues      until

         the     1980? s each with                   two expansions                   in   1969 and one                 in    1977 By the time of the
         next two team NL expansion                               in   1993 divisive AL NL distinctions had been gradually




         unified
         replaced          by a collective MLB owner strategy 7 MLB adopted                                                     a sixdivision            wildcard

         format        in      1994 but play offs                      and     the    World       Series were cancelled                       because        of    the

         1994? 95 player                strike

                When the last two expansion clubs were added                                                in 1998          MLB was financially
                  into a        30 team league               with           six divisions             AL 14 clubs and NL 16 clubs The
         MLB schedule                  is set for        162 games and eight teams                                three division           champions          and         a

         wild card team from each league                                     qualify for three round playoffs                          In spite of chronic

         local       revenue          disparity         among MLB clubs the random element introduced by                                                           this


         divisional            play off format has produced parity                                    in the      post season          since       the   1994? 95
         strike        In the        thirteen     seasons of sixdivision                        play         1995? 2007 eight                 different       teams

         have        won the World Series and four of those were wild card teams
                The two CBAs that followed




         prosperity
                                                                       the     1996 peace accord                   in 2002       and 2006 were the first

         deals       reached          without        work stoppage                   in the     history          of the       MLBPA Since the 2002
         CBA MLB and MLBPA adversaries have embarked on a new wave of shared
           MLB reported total revenues of 6.075 billion for 2007 up from 5.58 billion in
         2006         In 2006         MLB?s           935 million national                    television           rights       were 16.8         percent     of the

         total       MLB national television                           is   roughly equal to                total local         television        at   15 percent




         solidarity
         of total         revenue          in   2006      Total national               revenue          of       1.598 million in 2006 was 28.6

         percent          of   MLB revenue                compared to 20.3 percent                           in      2001 while            gate   revenues         fell


         to     35 percent            in   2006 from 40 percent                        five     years earlier
                                                                                                                          8
                                                                                                                              This    MLB revenue
                      is   due       in large      part    to a        tenfold explosion                    in   MLB Advanced                 Media          BAM
         to      317 million in 2006 from its startup stream of                                                      36 million in 2001 Projected
         MLB com revenue of                           380 million has been kicked                            up to           450 million for 2007.9 On
         the     national        level      MLB new broadband media                                   is   approaching             onehalf of            MLB old
         TV media MLB com new                                media           money exceeded                   MLB merchandising                        and licens




         6
               The Continental         League     was formed           in 1959    byWilliam           Shea to     bring   the   National    League back       to   New
         York     after    relocations      of the   Brooklyn Dodgers                to Los   Angeles       and the New         York Giants       to San   Francisco

         in    1958 The league          had     members     in New          York Houston Denver                  Minneapolis Denver            and Toronto with

         proposed      sites in      Atlanta Dallas       and Buffalo           The CL disbanded             after     NL expansions into New York Mets
         and Houston            Colt 45s in 1962

         7
               MLB owners were fined                 280 millionfor collusion against free agent signings                          after   the 1986? 89 seasons

         Fees of       190 million from           NL Colorado           Rockies       and Florida Marlins expansion                  in 1993 were shared with

         the    AL which also provided                  players    in   an expansion          draft        42 million to 14       AL clubs and           148 million

         to12    NL clubs
         8
               MLB?s      Blue Ribbon           Panel    reported       that   national       revenue      was 20 percent          of total   annual       revenue   in


         1996? 2001

         9
               MLB com annual              revenues     since launched           in   2000 have been              36 million       2001       50 million      2002
             91 million        2003        140 million      2004            236 million       2005          317 million 2006           and        380 450 million
          2007



                                                                                                                                                         123
500




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               18                                                                                                                                             J Vrooman



               ing    revenue         of       312 million in 2006                        and     surpassed          MLB total revenue                    sharing         of

                 326 million in 2006 and                           342 million in 2007
                     MLB local revenue                     sharing was introduced                       in the   1996 CBA with a 20 percent                           local

               revenue         share       allocated            under        a split pool plan10 In the 2002                         CBA revenue                sharing

               contribution           increased            to    34 percent of             local       revenue       and was divided equally among
               all   teams        straight        pool The 2006 CBA reduced                                   the    shared portion             of   local      revenue

               to    31 percent            that is straight             pooled         among the clubs 11 Given                      the   strong        adversarial

               position        ofMLBPA MLBhas implemented a luxury tax rather than a hard team salary
               cap    in      each   CBA after the 1994? 95 strike The ? competitive balance tax? CBT is a
               tax on      team payrolls over                    a threshold           set   so high that           the tax is essentially              a New York
                                     12
                                           The Yankees have been taxed each year 2003? 07 of the CBT and have




               attendance
               Yankee          tax

               paid a total          of     121.6million                2003? 07          of the total        CBT of           136.4million
                                                                                                                                                         13


                     The 81 game home schedule                                  in   MLB introduces considerable variance in
                           and high demand elasticity                           with respect  to team quality The average MLB club

               has an estimated value                      of    431 millionon revenues                       of     170 million in 2006 This is less

               than     one half that of the average NFL club based on the MLB                                                        risk adjusted             revenue

               multiple of 2.5 compared                          to    an NFL multiple of 4.7 Even                            if   MLB matched the NFL
               in    revenue         MLB clubs would be worth about half as much because of player cost and
               revenue         uncertainty            If    31     percent of            local    revenue           is   shared     after ballpark             expense

               deductions            then      the   recent surge               of national            revenue       to 28.6       percent would bring the

               total    amount of MLB revenue                                that is    shared     to     about      40 percent



               3.3    National Basketball                       Association




               revolutionary
               The     rebirth of           the

                              partnership? that

               85 The rival league war
                                                  National

                                                                imposed
                                                                       Basketball



                                                                 1969? 76 between
                                                                                           Association              NBA coincides with a ?
                                                                                 a league wide team salary cap beginning
                                                                                        NBA and the American Basketball
                                                                                                        the
                                                                                                                                                               in    1984?


               Association                ABA ended               with the merger of four ABA teams in 1977.14 During the



               10    ?Each Club contributes            20         of   its   Net Local       Revenue      to a putative     pool     75    of    that   pool    is   divided

               equally     among     all    Clubs the remaining                25      of the   pool    is divided   only    among Participating          Clubs below

               the   arithmetic      mean of Net       Local Revenue              in   proportion to each such Club?s               distance     from said average.?

               1996    CBA XV A            9
               11    MLB annual           revenue sharing         transfers          166 million         2001 169 million 2002 220 million 2003
                247 million 2004                  312 million          2005       326 million           2006 and 342 million 2007
               12
                  CBT annual thresholds 117 million 2003 120.5million 2004 128 million 2005 136.5million
                2006 148 million 2007 155 million 2008 162 million 2009 170 million 2010 Luxury tax
               under    the   1996  CBA had a floating threshold                     between      the   revenues of the 5th and 6th highest              payroll clubs

                51 million        1997 55 million 1998 and                             58.9million        1999 with tax rates of 34? 35 percent
               13
                     Competitive          balance    taxes        in addition to NY Yankees?
                                                                 are                         annual revenue sharing payments of

                52.65 million         2003          63 million   2004 76 million 2005 and 78.7million 2006 CBT total 2003?
               07     136.4million          Yankees?       annual CBT payments 11.8million   2003 26 million 2004 34 million
                2005          26 million       2006 and 23.9million 2007                            for   a total        121.6million      Red    Sox? annual          CBT
               payments           3.1million     2004 4.1million 2005
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         revenues
         Theory       of the        Perfect         Game                                                                                                                               19




         NBA ABA war NBA player salaries had grown to about


         considered
                                                                                                                                     70 percent                of    league

                     During           the       1979? 80 rookie seasons of the Boston Celtics? Larry Bird and the Los
         Angeles Lakers?Magic                                Johnson theNBA reported                                    13 million losses and openly

                          contraction                    of five    clubs By 1983                   CBA negotiations player costs had reached
         three fourths                    of    league         revenues               and     the     National           Basketball                 Players Association

          NBPA agreed to cap                                 team payrolls               at   53 percent             of revenues                  In    an attempt to keep

         star    players with their original clubs the                                            NBA granted                 the    ?Larry Bird? exception                          for

         clubs to exceed                       the    ? soft cap?          to   re sign their own free agents 15 Optimal competitive

         balance                   an empirical question                             and the                  payroll cap                 revealed                   NBA?s




         salaries
                           is                                                                        soft                                                   the                   clear

         preference for dynasties on national                                           TV
               The        NBA NBPA partnership showed signs of strain by the 1990? s NBA                                                                                      owners

         wanted           to       remove the Bird exception and impose a hard salary cap When player

                     reached               57.2 percent              of         1.7 billion          basketball             related            income           BRI in 1998
         NBA          owners reopened                         the    1995            CBA 16 In the 1999 CBA the owners retained the


         restrictive
         soft       cap       but    were            able    to     resurrect          a luxury tax proposal                         it    had withdrawn from the

         table in             1995         As conceived                   in the        2005 CBA the NBA luxury tax is more
                 on spending than                           the     ineffective           MLB version The NBA luxury tax withheld                                                       a

         10 percent                 escrow fund of player                            salaries to insure                 that salaries and benefits did                              not




         difference
         exceed           a    designated                 percentage            of    BRI     rising from 55                 percent            2001? 02 to 57 percent

         in    2006? 07               If       escrow payments                       exceeded          the designated percent                             of    BRI then             the

         overage              is   refunded              to the     players If              the    escrow payments fall                           short then            the

                     is   made up by a 100 percent                                    tax     for    higher spending clubs                             on payroll over               the

                                          17
         tax threshold                         As the        salary cap escrow tax system has since                                            evolved          the luxury tax

         has emerged as a de facto hard salary cap                                                  in the     NBA 18
               In    2004 the              NBA expanded                     to 30 teams playing                        82 game seasons                      in six        divisions




         competitive
         The top eight teams in Eastern                                         and      Western             Conferences each                          qualify for          the     first


         of    four rounds                     of    play offs The                   NBA post season tournament is the least
                     of all         four American                    leagues Five teams have                                won the last ten                    NBA champi


         Footnote         14 continued

         Denver       Nuggets              Indiana        Pacers     New      York      Nets and        San Antonio            Spurs each              paid a       3.2million    entry

         fee increased              the    number of NBA franchises                      to   22 in 1977

         15
               In the     first     season          of   the cap     1983? 84          five   clubs were frozen               over the            3.6million        cap   LA Lakers
          5.2million               NY Knicks               4.6million       Seattle      Supersonics           4.6million Philadelphia                      76ers       4.45 million
         and    New Jersey Nets                     3.75 million In the following 1984? 85 season the Boston                                      Celtics      used their own        free


         agent cap exception                    to sign     Larry Bird      to a      seven year contract             for     14 million previously a                     3.25 million

         five year        deal      1979?       84
         16
               The 1995 CBA                    was reopened         in 1997?      98 when         salaries   reached        57.2 of             1.7 billion     BRI The lockout
         was the firstwork stoppage                        in the   history of theNBA               More     than half      of the        clubs   were over the           26.9million

         cap    in   1997? 98         The Chicago             Bulls re signed Michael                 Jordan        to a contract         of    33 million itself          larger than


         the   team       cap       with the Larry Bird exception                      for the     highest team         payroll of             61.3million          in 1997?   98
         17
               In 2001? 05 the individual team taxwas                                triggered     if the   league    salary    percentagewent               above the threshold

         of    61.1 percent          If    the league salary          ratio     was under the threshold                there    was no tax             in the 1999     CBA even if
         an    individual          team was over the threshold The tax was triggered                                    for   2002? 03 and 2003? 04 but there was

         no    tax in 2001?          02 and 2004? 05                After   the      2005     CBA both        the    escrow system              and luxury tax are in effect

         18    The salary           cap and luxury tax threshold                      are determined         prior to the       season            The salary cap          is computed


         by taking 51 percent                       luxury tax 61 percent of projected                      BRI subtracting               projected       benefits        112 million

         2005?       06 adjusting               for previous        season?s         BRI above        or below       projections and               dividing     by the number          of

         teams       BRI is projected                 from contractual           TV money           plus eight       percent    growth            in   non TV BRI revenue



                                                                                                                                                                        123
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         20                                                                                                                                                            J Vrooman




         onethird
         onships             and only seven                      teams have               won     the     NBA          title     in   the      quarter        century         of the

         salary        cap        era Given              the      41 game home                     season             there is        considerable             gate revenue
         risk for the isolated                      club even though gate revenues league wide are consistently




         certainty
                     of total        revenue                Shared national                 TV money                   is    about        25    percent        of     total    NBA
         revenues             which reached                           3.57 billion          in   2006? 07 The Forbes revenue                                    multiple           3.1

         reflects        significant                revenue           risk    for the        local        club         modified with moderate cost

                       from the            salary        cap The average                      NBA club in 2007 was valued by Forbes at
           372 million on revenues                               of     119 million About 25 percent          of NBA revenue is shared


         evenly




         simply
         3.4




         Canadian



         of
                 National




                called


               Wayne
                             hockey
                                    Hockey League




                              Gretzky
                                               fans

                              ?The Trade.? For better
                                                        mourn the death of ?old time hockey?
                                                                                     or   worse the eight player deal involving the trade

                                                    ? The Great One? from the Edmonton Oilers to the Los Angeles
                                                                                                                                          in a watershed              event




         cancellation
         Kings for                15 million in 1988 also marks the birth of a newera in the    NHL 19 The trade
         altered the economics                          of hockey in twoways                            thatwould              ultimately lead to the

                 of the 2004? 05 season After Gretzky?s                                                 move          to   large market            LA         his salary was


         twice doubled from                           1.72 million to                     3million in 1990 and to                           6.5million in 1995 The

         small market Pittsburgh Penguins answered                                                        in    1991 by giving Mario Lemieux                                       the

         next most prolific                     NHL scorer                      7million annually                          for sixyears            The Penguins                   won
         the    Stanley Cup in 1991 and 1992 and had the highest                                                               payrolls        in 1994?        95 1995? 96
         and     1996? 97 After reporting                                 losses of              20 million in 1995 and                            13 million in              1996
         the    Penguins             filed      for bankruptcy                  in 1998.20               NHL          payrolls        increased from 30 percent

               40 percent                     league         revenues           from 1990                      1993            and    by 1996 one half of NHL




         revenues
         to                              of                                                               to

         revenues            was going to                   the   players

               The Gretzky                    tour     in   Southern            California also                      sparked         NHL interest in expansion
         and     relocation               to    non traditional                 US hockey markets                               to strengthen            television




         Unfortunately
                  21
                        The        ill    fated       ? Sunbelt strategy? added                            nine teams in nine years                            1991? 2000
         and the        NHL became a bloated 30 team league with six five team divisions 22
                         NHL owners had cannibalized their own league in the process by taking


         19    Gretzky considered                   the greatest       hockey        player of    all   time was traded              to   St Louis   and      finished      his career

         with    the    New       York        Rangers in 1999                The Edmonton               Oilers       won    four Stanley         Cups    in    five   years before

         the   trade     The      Oilers were one                of   four   rival    league World             Hockey        Association         WHA 1972? 79 clubs to
         merge with the NHL                    in   1979? 80 Edmonton                  Oilers Winnipeg                Jets Quebec Nordiques and                       New    England

         Whalers

         20    As the largest            creditor     Lemieux exchanged                     20 million of his               32.6million         deferred      compensation          for


         20 percent equity               position as general             partner

         21
               The NHL added five                   teams in three years San Jose Sharks                             1991 Ottawa Senators and Tampa Lightning
          1992         and    Anaheim           Ducks       and Florida Panthers                  1993         all   with an expansion            fee of       50 million Four

         teamswere           selected in 1997 for expansionwith fees of                                 80 million each Nashville                 Predators         1998 Atlanta
         Thrashers           1999 and the Columbus                       Blue    Jackets         2000      and Minnesota              Wild      2000     for a      30 team total
         22
               The     Sun Belt strategy involved                      relocations        of four clubs including                 three     WHA teams The Minnesota
         North    Stars      became the Dallas               Stars in     1993 the Quebec Nordiques                          moved        to Colorado    Avalanche           in   1995
         the   Winnipeg           Jets relocated            to    Phoenix       Coyotes      in    1996 and            the     Hartford        Whalers   moved         to    Carolina

         Hurricanes          in   1997




         123
2




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             Theory      of the     Perfect     Game                                                                                                                21




             one time expansion fees from marginal market clubs                                                 that       increased competition                   for

             diluted       hockey            talent     As an afterthought                of the      1997 decision               to expand the        NHL by
             four    teams in 1998? 2000 and collect                                 320 millionmore in fees the CBA was extended
             four     years until 2004

                   By the 2004 CBA negotiations the                                   easy      570 million in NHL expansion                           fees       was
             long     gone          ESPNABC declined its option to extend                                       120 million annual                 rights         fees




             accounting
             beyond           2004 because               of declining            ratings       and        labor uncertainty              According           to    the

             NHL the revenue growth of 164 percent                                        over       the   ten years of           the expiring        CBA was
             exhausted             by    a 254 percent increase                   in player          salaries     By the owners? own
                     the      players?          share    of     revenues         had ballooned              from 57 percent              in    1993? 94       to   75

             percent          in   2002? 03 NHL owners declared that the NHL economic model was broken
             and    that       a hard salary cap was                     the     only   solution            The NHLPA responded                       that    NHL
             revenues          were understated                  and questioned why owners needed                                 a hard salary cap          when
             the   NHL had the most restrictive ? unrestricted? free agency                                                  of   any league          When         the

             NHLPA             rejected         the   salary cap           owners called              a    lockout     and cancelled            the    2004? 05

             season

                   The issues of the               CBA were resolved in 2005 and the economic future of the NHL
             has been          framed           in revolutionary            changes          made in the agreement The sixyear deal
             that runs         through 2011               specified        a hard salary             cap    that limits       the      players? share         to   57

             percent          for   revenues          above        2.7million Existing player contracts                                were rolled back            by

             24 percent to lower the player share from 75 percent to 57 percent The payroll capwas
             set at        39 million in 2005?                   06 44 million in 2006? 07 and                               50.3million         in 2007?          08
             Minimum team payroll is arbitrarily                                 set at        16 million below the cap                        34.3million in

             2007? 08
                                   23
                                        No individual player can have a contract salary over 20 percent                                               of the      cap




             System?
             so the       individual            NHL player salary limit was                               7.8million        in    2005? 06         8.8million

             in    2006? 07 and                   10.06       million      for    2007? 08           A player?s            eligibility     for unrestricted

             free    agency             was reduced             from 31 to 29 years of age in 2006? 07 and                                to    27 years after

             2008? 09 The CBA also has a modest ? Player Compensation Cost Redistribution
                         that transfers            revenue         from the          top ten        richest   clubs to           the   bottom 15 clubs              to

             subsidize the               league       minimum payroll 24
                   Post lockout               NHL       revenues      were much                stronger than         projected          by the league and

             attendance             in       traditional        hockey     markets        was resilient The league reported hockey
             related       revenue              HRR of            2.178 billion           in   2005? 06 and                2.318       billion in     2006? 07
             compared to                 2.083 billion           in 2003? 04 before the lockout                      Player costs of             1.325       billion

             were 57.2 percent                   of   HRR and 54.4 percent of gross NHL                                    revenues       of    2.436 billion




             23
                   The    ?Team          Payroll Range           System?    is   a    16 million      range    around        an    adjusted     midpoint       Given

             2006? 07         HRR       of    2.318   billion    and annual      benefits      of    80 million      the   applicable     percentage     of 55.59

             percent      yields the         midpoint 55.59                of
120




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               22                                                                                                               J Vrooman



               for    2006? 07 Forbes valued                   average NHL club at
                                                             the                       200 million on revenues of
                81 million in 2006? 07 The                   NHL revenue multiple of 2.5 is the same as MLB and
               reflects significant           team specific and league specific revenue                     risk   modified     by salary
               cap    cost       certainty    The cost       redistribution     plan together with           a meager national TV

               contract      bringsNHL revenue sharing to only about 16 percent In spite of local revenue
               disparity          the   NHL   has   shown moderate competitive                balance       on the post season ice
               Six different            clubs have     won   the   last ten                   to five of ten NBA
                                                                               Stanley Cups compared

               Champions seven                of ten   MLB Champions and eight of the last ten NFL Super Bowl
               winners




               4 Monopsony                Power


               4.1    National          Football   League



               Since       the    AFLNFL merger in 1970 the NFL has held the greatest monopsony power
               of    the   four     leagues    NFL players            gained   unrestricted     free agency         in   1994    but   only

               after the         NFL Players Association               NFLPA         decertified     as a   union sued the NFL            in

               McNeil        et    al v    NFL      790   F Supp 871           8th   Cir 1992 and agreed             to a   hard   salary

               cap 25 The only             external     threat   to   NFL monopsony power               occurred during          the   rival

               league       war     1983? 85 with the            USFL     when       the   average    NFL salary         doubled from
51




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              Theory    of the   Perfect   Game                                                                                  23




              in a revenue        sharing league suggests            that the   NFL has become           a league      dominated by

              win maximizing sportsmen


              4.2     Major League Baseball



              Compared to other sports leagues MLBmonopsony                              power is uniquely         buffered against

              rival    leagues      because        MLB preemptively          controls all       potential    markets through     its


              affiliated    minor league           player development        system As the strongest sports union the
              MLBPA                                                                                                    CBA of 1976


              quadrupled
                           was the         first   union   to   obtain   unrestricted    free   agency      in   the

              Based     on competition             for free   agents from within the league          rather      than from external

              rivals    average       MLB salaries doubled in the               first   two years of      free    agency   and

                           in the    first   decade     from
                                                                                                                                                                                                                       1




                                                                                                                                 24




                                  and
Table   Player Costs




                            NFL




        2
                                        MLB




                       in
            National   Football League                                     Major League Baseball




Year        League                 Player     Player    Mean     Percent   League          Player   Player    Mean     Percent

            Revenue                Costs      Percent   Salary   Change    Revenue         Costs    Percent   Salary   Change



1990
                                                                                                                                 J Vrooman
                                                                                                                                             Case 2:15-cv-01045-RFB-BNW Document 743-21 Filed 09/12/19 Page 21 of 42
35




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              Theory    of the   Perfect   Game                                                     25




              rival   leaguewar       1967? 76 During theABAwarNBAaverage   salaries increased at 20.6

              percent    CAGR from
                                                                                                                                                                                                                                                         1




                                                                                                                                                                   26




                                                  and




        3
Table              Player Costs




                                                        NHL




                                         NBA


                                    in
                            National           Basketball     Association                                National   Hockey   League




    Season                  League                       Player             Player    Mean     Percent   League              Player   Player    Mean     Percent
                            Revenue                      Costs              Percent   Salary   Change    Revenue             Costs    Percent   Salary   Change




                              606
                                                              246
                                                                                        717
                                                                                                         465
                                                                                                                                139
                                                                                                                                                   221




1989?                                                                       40.6               24.7                                   29.9               17.3




                                                              331
                                                                                        927
                                                                                                         518
                                                                                                                                169
                                                                                                                                                   271




1990?                       843?                                            39.2               29.3                                   32.6               22.8




        90 91 92
1991?
                                                                                                                                                                   J Vrooman
                                                                                                                                                                               Case 2:15-cv-01045-RFB-BNW Document 743-21 Filed 09/12/19 Page 23 of 42
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         Theory      of the    Perfect   Game                                                                                                            27




         4.5    Implications




         Clear evidence                 that the       players?    share has approached                       two thirds of          revenue       in    all


         four     major sports leagues                   leads    to the      surprising            conclusion        that   monopsony power

         in all      leagues       has     virtually      vanished         There           are    several     explanations           ranging from




         compromised
         new found             bargaining         power      of    free agent             players       to   external    competition            of rival

         leagues           The most plausible argument                        is   that     league cartel solidarity                has been

                                                                                                             Nash



         objectives
                            by internal         competition         from the profit max                                behavior       of   individual


         owners or by             win max objectives                of   sportsman             owners         Over time a pure sportsman

         league       is   the    steady       state    in which     profit         max owners can either change                       their

                  or be driven           from the league           Vrooman 1997a The good news is that synergistic
         cooperation             among sportsman owners and players has led to                                        their    mutual       gain The

         bad news is that the internal erosion of monopsony                                         power has turned the              objectives         of

         thesemonopoly                  leagues      toward external          exploitation              of their own fan base and general

         tax paying public



         5 Monopoly Power


         5.1    Media Revolution


         All    four       major        leagues        were granted           antitrust          exemption       from        the    sale   of   pooled




         problem
                                                                                                                                             SBA         31




         interdependence
         national       ? sponsored            telecast?    rights in      the Sports Broadcasting                      Act    of 1961

         Collective           negotiation         of   pooled rights          fees       was     justified    because        of the natural

                                 of clubs in sports leagues                and presumed social welfare from competitive




         television
         balance           The argument against              the    league as cartel is the                   monopoly        inefficiency

                of   fewer games being                  offered to fans at               a higher price ? than they otherwise would
         be? under competitive                    negotiations           Sports          rights are     more complicated because
                     networks serve               as media       between           upstream leagues              and downstream viewers

         In    theory       fan welfare           is   maximized         when teams competitively                        negotiate         individual


         deals    with several media networks                       Competitive                solutions       in upstream          markets are not




         viewers
         options in American mediamarkets because of SBAexemption As a resultmarkets                                                                    for

         American           sports rights         have evolved           in   an environment of upstream monopoly power

         where       rent      accrues     to    the    leagues Competition                    among         several    networks       for split      TV
         rights      packages       upstream is presumed to yield lower                              costs    and greater choices           for

               downstream                Unfortunately           for networks              downstream competition                    and upstream
         monopoly             creates      a    worst     case    auction          environment               that systematically            results      in

         financial         loss

               TV rights fees shown in Table 4 reveal the history of the best case for leagues                                                       and

         worst case            for the     networks         National          rights        fees     for the     NFL since the AFLNFL
         merger dwarf              MLB and NBA revenues                        four to one and                  the   NHL      is   a sports       rights




         31    Eleven teams had          contracts     with CBS    two had     contracts         with   NBC and the Cleveland          Browns      had    its



         own    network After pooled             national   TV    contract    between          AFL and ABC in 1960            the court    ruled   against

         pooled    rights     selling   by the NFL in United        States    v National Football League               196   F Supp 445 446          ED
         Penn 1961 The Sports              Broadcasting      Act reversed          the   decision    to remedy   an ? apparent inequity?        between

         the   NFL and AFL



                                                                                                                                           123
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         28                                                                                                                                  J Vrooman



         ?   no show? At the time of the AFLNFL merger ABC was relegated to a primetime



         affiliations
         Monday Night               Football          MNF experiment and cozy                          partnerships           between       CBSNFL
         and      NBC AFL continued for NFC and AFC after the merger32 NFL network
                     were stable          until     the   emergence of the                 FOX network as a sports rights bidder in
         the early         1990? s

               The FOX Network crashed                            the   1993 NFL            rights party      by offering             395 million for
         prized       NFC rights compared to a second best offer                                        from CBS             for      290 million for
         1994? 97.33 The after shock was delayed until                                        the    1998? 2005         rights     payback      auction

         where CBS regained                    AFC rights for a hefty                      500 million and FOX retained NFC rights
         for        550 million The second            time around NBC was the odd network out of the NFL

         monopoly            auction          ABC and its cable affiliate ESPN paid 1.15 billion for Sunday
                                              34
         and Monday               nights           FOX affiliate DirecTV                    paid      400 million per year for exclusive

         rights      to   out of market games shown by pay per view on                                           ?   NFL Sunday Ticket?              and

         the   NFL Network launched in 2003 to be delivered via satellite platform
               After FOX had blown up traditional network partnerships annual NFL rights fees

         tripled from              900 million 1990? 93 to                        2.6 billion 1998? 2005                The explosion          in rights

         fees forced          incumbentsABC CBS andNBC to allowexpensiveNFL                                                        rights   tomigrate

         to    ABC cable             affiliate       ESPN         and        FOX satellite           affiliate       DirecTV          In   2006   rights

         increased         by 40 percent              and sports siphoning continued                           ABC abdicated NFL rights
         by allowing Monday Night Football                                   to   migrate to cable        affiliate         ESPN for        1.1 billion

         DirecTV           paid      700 million annually                    for   PPV Sunday Ticket and NFL Network                              which

                                                                                                                                   NFL games

         discrimination
         produced          its    own       exclusive       eight game package                  late in    2007.35 All                             were

         available         for a    price but access               was becoming more exclusive through                                 price


                       and       vertical     integration

               The     sports rights           migration pattern                   was the same in the               other    leagues       on a much
         smaller          scale     MLB national              rights         fees     increased       twenty fold from                 18 million on
         NBC         at the      start of      free       agency        in   1976     to     365 million on CBS and ESPN before




         abandoned
         the    1994       strike     After the strike             FOX expanded                its   sports   package           to include     MLB 36
         The post strike MLB                       rights    market          was weak          and    FOX NBC and ESPN combined
         for        325 million annually                  1996? 2000 Since 2000 the                     traditional          networks have

                      MLB and the                  803 million rights 2007? 13 are shared by FOXfreeto air ESPN




         Immediately
         32




          1962?
               The AFL signed a five year pooled
                     following

                     63
                                    the   SBA exemption
                                                                  agreement 1960? 64 with ABC for

                                                                  in    1961 the      NFL struck annual        deals
                                                                                                                     2.125 million per season

                                                                                                                         with   CBS for      4.65 million



         33    The FOX strategy           was to run      financial losses         and use sports broadcasting         to   gain legitimacy as a fourth

         network      rising from its        1986 start up with a handful             of UHF stations

         34
               ABC acquired ESPN in 1984 and Disney acquired ABC ESPN in 1995 FOX Network                                              launched in 1986

         and   is   owned by Rupert          Murdoch?s       News       Corporation which gained           control     of satellite   platform DirecTV

         in   2003
         35
               Congressional        inquiry into the SBA exemption                   came in 2007 when           a   NFL late season game package
         was offered       only on NFL Network              on DirecTV and            a   Comcast    Cable premium sports tier

         36
               The   Baseball      Network         TBN      was   a   revenue sharing        arrangement      among         NBC ABC and MLB that
         failed     during the     strike    of 1994? 95 ESPN?s six year                   255 milliondeal 1994? 99 was voided              by the strike

         and   was    renegotiated        as a five year      440 million deal 1996? 2000              CBS lost         500 million 1990? 93 and      bid


         only       120 million     after   1994




         123
                                                                                                                                                                                                                                       2




                                                             M




        4
Table        North   American Television      Rights Fees
                                                                                                                                                   Theory




Term            Years       Total    Rights     Annual   Rights   Broadcast                     Cable                      Satellite   Canadian
                                                                                                                                             TSN




                                                                                                                                       CBC
                                                                                                                                                   of the




                                                                                                                  Othera




                                                                                                            TBS
                                                                                                ESPN                       DirecTV




                                                                   ABC
                                                                              CBS
                                                                                          FOX




                                                                                    NBC
                                                                                                                                                   Perfect




National Football League




        81
                               646
                                                   162
                                                                   60
                                                                               54
                                                                                     48
                                                                                          _
                                                                                                        _
                                                                                                              _
                                                                                                                  _
                                                                                                                           _
                                                                                                                                       _



1978?
                                                                                                                                                   Game




1982?




        86
                4 5
                                                                                                                                                   29
                                                                                                                                                             Case 2:15-cv-01045-RFB-BNW Document 743-21 Filed 09/12/19 Page 26 of 42
                                                                                                                                                                                                                                                                                                                                              30




      Table                            continued




              4



123
      Term                                 Years           Total      Rights              Annual            Rights           Broadcast                                                                                     Cable                                                        Satellite          Canadian
                                                                                                                                                                                                                                                                                                                              TSN




                                                                                                                                                                                                                                                                                                             CBC




                                                                                                                                                                              NBC
                                                                                                                                                                                                                           ESPN                                       Othera            DirecTV




                                                                                                                                                                                                                                                  TBS




                                                                                                                                  ABC
                                                                                                                                                       CBS
                                                                                                                                                                                                        FOX
      National Hockey League




                                                                  36
      1985?




                                                                152
      1988?




                                                                185
      1992?




                                                                500
                                                                                             12 38 37 100
                                                                                                                                                                                                                                     8 _ 16 16
      1994?




                                                                878
                                                                                             176
                                                                                                                                                                                                                                   120
      1999?




                                                                361
                                                                                             120
      2005?
                                                                                                                                                                                                                                                                                                           4 21 21 53 56 51




                                                                                                                                  _ ____ __
                                                                                                                                                        _ ____ __
                                                                                                                                                                               _ _ _ _ _ a_
                                                                                                                                                                                                    _ _ _ 31 _ _ _
                                                                                                                                                                                                                                     __
                                                                                                                                                                                                                                                      ____ __
                                                                                                                                                                                                                                                                                        _ ____ __




                88 92 94 99 04 08 11
                                                                443
                                                                                             148
                                                                                                                                                                                                                                                                     _ 17 _ _ _ 69 75
                                                                                                                                                                                                                                                                                                           73




      2008?




                                          34 25 533
                                                                                    560
                                                                                                                 per
                                                                                                                                                     years




                                                                                                                                              14
                                                                                                                                                    8
                                                                                                                                                                                                                             TNT
      Comparable                          media deals           NASCAR                     million                      year 2007?                                      4.48 billion




                                                                                                                                                                                              FOX
                                                                                                                                                                                                                     ESPN
                                                                                                                                                                    billion




                                                                           565
                   Basketball                         Tournament                 million                    year 2003?                         years




                                                                                                                                                             6.2




                                                                                                  per
      NCAA




                                                                                                                             14
                                                                                                                                         11
                                                                                                                                                                                    CBS
      English                     Premier League                       billion            year        2007?                 years                   billion




                                                                1.5
                                                                                                                                              4.5




                                                                                  per
                                                                                                                                                                    BSkyB Setanta




                                                                                                                       10
                                                                                                                            3
                                                                                                                                                                                                        BBC




                                                                                                                            and
                                                                                                                                                                                                                                                        and
                                                                                                                                                                                                                                                                                                                                         US




      aNHL                                   rights                                                                                                                                                                                                                                                                    rights




                                                                  91
                                                                                                            17
                                                                                                                                                                                                                      69
                                                                                                                                                                                                                                                 08
                                                                                                                                                                                                                                                                75
                                                                                                                                                                                                                                                                                                11




                   annual                               1988?          SportsChannel                             million                  5.5million                    1992        Comcast                                million 2005?                              million 2008?                  Canadian


                                                                                                                                                                                                          Vs




                                                                                                                                                                   in
                                                                                                                                                                                                                                                                                                                                    in




                     NHL




       NBC
                                         profit       sharing deal 2005?




                                                                                 08
                                                                                                                                                                                                                                                                                                                                              J Vrooman
                                                                                                                                                                                                                                                                                                                                                          Case 2:15-cv-01045-RFB-BNW Document 743-21 Filed 09/12/19 Page 27 of 42
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         Theory      of the     Perfect     Game                                                                                                          31




         and TBS cable                and DirecTV via satellite MLB plans to launchMLBNetwork                                                       in 2009

                                                 37
         to    50 million homes

               After      the    post strike           rights    recession in          MLB NBA national rights fees surpassed
         MLB for the                first   time NBA                 rights   fees    of        660 million 1998? 02 from NBC and

         TBS doubled the previous NBA contract                                       of     275 million 1994? 98 as well as MLB
         fees of          325 million 1996? 00 After losing                                  300 million on its                 438 million share of
         the    over priced deal NBC offered a low bid of                                        325 million for NBA rights                     2002? 08
         compared to ESPN?s winning bid of                                    400 millionBy 2002NBArights had completely

         migrated          to cable         ESPN and TBS                ABC heldNBArights through ESPN In 2008 TBS
         agreed       to       manage       all    digital assets of       the NBA including NBA TV NBA com and

         NBALeague                  Pass As ?the longest running league network partnership in professional
         sports?          since     1982 theNBA TBS union fusedmonopoly power in the upstream NBA
         media        market
               The disparity              in total         TV revenues          among the leagues narrows with the                              inclusion

         of local         media because NFL clubs do not sell local TV rights
                                                                          MLB average local                               In


         TV rights per club are greater than each club?s national share MLB total local media



         distribution
         revenue          increased          from           571 million in 2001                 to     837 million in 2006                compared        to

         the    MLB national annual contract                            average        of       559 million 2001? 06 The unequal
                           of rights        fees      among          local    markets leads to a revenue                   imbalance          within the

         leagues          TV revenues                 of     322.6million for             the   top    10 MLB clubs              in 2001 are        double

         the    local      TV revenues                 of     166.6million            for    the second           ten and         are    quadruple       the

              81.9million           local    TV rights           of the       bottom      ten    clubs

               Efficiency           gains for downstream viewers                        from competition among the clubs are lost

         if   networks gain upstream media monopsony                                        power Regional FOX Sports Networks
          FSN control local media rights for two thirds                                              57 of 90 of the clubs                outside of the

         NFL 19 of 30 clubs in each MLB NBA NHL Comcast SportsNet holds rights to 14
         clubs       and Rogers Sportsnet                      controls rights for              seven of eight Canadian                   teams There

         are three         two team networks ? Boston                                NESN Denver ASE and Baltimore DC
          MASN ? and six clubs control their own networks including                                                       the    New York Yankees
         on YES Network All nine networks share common ownership with their                                                                   respective

         clubs
                     38
                          If    regional         sports       networks         are    held      by    FSN Comcast SportsNet                         Rogers

         Sportsnet             or   the     clubs themselves                  then    upstream         media markets               are controlled         by

         rent seeking               monopsony cartels



         5.2    Venue Revolution



         After butting heads with                          Miami and Dade County over public renovation                                   of the    Orange




         Bruins
         Bowl Miami Dolphins owner                                   Joe Robbie decided                in   1984 to      build     a private        stadium



         37    The   largest     launch     in    cable     history   was made       possible    on   satellite   and   basic    cable   when   a   one third

         ownership        in   MLB Network            was sold to DirecTV            16.67 percent and the InDemand                 cable   consortium

         38    New    England        Sports Network            NESN is 80 owned by Boston Red Sox and 20 by Boston
                Altitude       Sports     Entertainment         is   owned    by Stan Kroenke          owner      of   Denver    Nuggets     and    Colorado

         Avalanche         Mid Atlantic Sports               Network     is   owned    by Baltimore Orioles             90 and DC Nationals 10
          increases       to   33 over 20 years Yankees cash                     flow from Yankee           Entertainment        Sports     YES Network
         approaches            120 millionannually




                                                                                                                                              123
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              mezzanine
              32                                                                                                J Vrooman



              backed   by luxury suite revenues The design              of   the   stadium combined        the




              financial
                    club   seats   of   Kansas City Arrowhead      with twin       tiers   of   luxury suites    in   Texas

              Stadium      Joe Robbie Stadium opened        in   1987   just outside       Dade   County   at    a cost   of

               115 million including          13 million from the State      of Florida     The revolutionary

                   design involved       up front ten year leasing of 216 luxury suites at
11




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              Theory    of the   Perfect     Game                                                                              33




              Fig 4     LA Coliseum Existing Bowl and Proposed Renovation




              previous
                   To   see   how the NFL venue               extortion   game works consider the           relocation   circus

              surrounding         the   1995 two team expansion            The six finalists were Oakland            Baltimore

              St Louis Memphis Charlotte and Jacksonville                        The   first   three had lost     teams to

                        relocation extortions the Oakland Raiders to               LA      in 1982        the   Baltimore Colts

              to   Indianapolis         in   1984 and   the   St Louis Cardinals    to Phoenix       in   1988 The     surprise

              expansion choices              were Charlotte and Jacksonville       Carolina       was     selected   because   of

              the economics          of its stadium     design    158 suites and
9




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             34                                           J Vrooman



             suites   and
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         Theory       of the     Perfect      Game                                                                                                                          35




         owners flipped                     the     120 Expos for                   450 million and                  extracted       the full public              ballpark

                                                         46
         surplus in the process




         6 Competitive Balance


         6.1    Revenue                and Cost Disparity



         Intra league              financial             results for      NFL and MLB teams are compared in Table 5 for the
         2006 season The equalizing                                   effect    of revenue sharing                         and the      salary      cap      in   the NFL

         are    clear        The        coefficient             of variation              CV among revenues                        of    NFL clubs in 2006 is
         12.6       percent            which has been                  stable since             before         the salary         cap     12 percent           in   1993
         NFL 2006 payrolls                              have    a tight        CV of 10.6 percent                          which        has been steady               since

                                                                      CV

         certainty
         inception           of the cap              in   1994                  8.8        percent In the seasons                         1990? 93 before the
         salary       cap       the     NFL payroll spread was about                                    16 percent from revenue                        sharing only

         The relatively high NFL revenue multiple of 4.7 reflects relative revenue and                                                                            cost




         valuation
                      in spite of the players? payroll revenue                                        share     of 61.4 percent             Expected              revenues

         of    teams soon playing                         in new       venues         Indianapolis               Colts       in   2008 Dallas Cowboys in
         2009         and Kansas City Chiefs                             N Y Jets and N Y Giants                              in   2010         have higher

                     multiples              5.0    to     6.2 The bottom                   eight      NFL clubs with multiples                          of    4.3    reflect

         cash flow disadvantages                               of   playing      in older             venues All eight clubs are current NFL




         revenueCVwas
         revenue
         relocation extortion                        threats

               The revenue and                     cost       disparity        among MLB clubs is also obvious                                   MLB club
                                  21.8 percent                in    2006 whichwas down ten points from 31.8 percent                                                 in 2000

             29.1    percent           in 2002           and 30.4        percent           in   1990 This was the result of increased
                     sharing           in   MLB but the redistribution effects                                   are       modest compared to the                     NFL
         Payroll           variation          among MLB clubs increased to 36.2 percent                                                 in 2006        40 percent in

         2004         from 23.4 percent                        in 1990         The         relatively         low MLB             valuation         multiple of           2.5




         strengthens
         reflects this revenue                     and cost          variation        The five most valuable clubs are separated from




         sharing
         the rest          ofMLB with revenue                          multiples           over 3.0 Expected                   ballpark         revenue

                the    Washington Nationals                             in 2008        and NY Mets and NY Yankees                                     in 2009.47


               Intra league                 financial          results for          the    NBA and NHL are shown in Table 6 for the
         2006? 07 seasons The two to one revenue                                                 disparity           reflects the        lack    of    revenue

                and the payroll variations show the nature of salary caps                                                          in   both leagues              The CV



         46
               NBA played          arena extortion games                 in relocations          of the Vancouver            Grizzlies to    Memphis          in 2001    with

         a   100 subsidy for the                    250 million        FedEx Forum              75 suites 2500 club seats and                   the   Charlotte      Hornets

         to   New Orleans in 2002 with a 100 subsidy of New Orleans Arena                                                  54 suites 2450 club          seats       followed

         by retro expansion                 Charlotte     Bobcats       in 2004     for a       92 subsidy of 265 millionBobcat Arena 70 suites
         2500       club   seats       The    Grizzlies        and Hornets      each paid             30 million in relocation           fees and the Bobcats paid

             300 millionexpansion                  fee

         47
               The    disincentive           with revenue            sharing   is   seen        in   clubs    like   the   Florida Marlins            whose       31 million

         payroll      was       less    than      its     33.4million      revenue          sharing      transfer       or   MLB?s       national     revenue       share   of

             53.3million for 2006                  MLB requires          teams      ? to   spend      receipts       to improve    on field performance.?                MLB
         transferred        a    326 million total             in   2006 Major       payers were the NY Yankees                    78.7million          Boston      Red Sox
             59.7million and            NY Mets           30.7million Major                recipients        were the      Tampa Bay Rays             36 million Florida

         Marlins       33.4million                Kansas CityRoyals             33.2million            Toronto       Blue Jays       31 million       Pittsburgh      Pirates


             25 million and Minnesota                     Twins      22 million




                                                                                                                                                              123
1




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             36                                                                                J Vrooman



             Table 5   NFL and MLB Financial     Results 2006 Season    M
             NFL                   Value   Rev   VR    Pay   PR   MLB       Value   Rev   VR    Pay   PR

             Dallas   Cowboys
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         Theory     of the      Perfect   Game                                                                                            37




         Table 6      NBA and NHL Financial               Results 2006? 07 Seasons             M
         NBA                               Value   Rev    VR       Pay   PR      NHL                            Value Rev   VR     Pay   PR

         New York Knicks                   608     196    3.1      121   617     Toronto      Maple     Leafs   413   138   3.0    49    355

         Los Angeles        Lakers         560     170    3.3      81    476     New      York Rangers          365   122   3.0    49    402

         Chicago     Bulls                 500     161    3.1      58    360     Detroit Red       Wings        293   109   2.7    53    486

         Detroit    Pistons                477     154    3.1      63    409     Montreal      Canadiens        283   109   2.6    46    422

         Houston     Rockets               462     149    3.1      68    456     Dallas    Stars                254   91    2.8    48    527

         Dallas    Mavericks               461     140    3.3      91    650     Philadelphia       Flyers      244   87    2.8    47    540

         Cleveland        Cavaliers        455     152    3.0      69    454     Boston     Bruins              243   87    2.8    46    529

         Phoenix     Suns                  449     145    3.1      66    455     Colorado      Avalanche        214   79    2.7    43    544

         Miami Heat                        418     131    3.2      68    519     Vancouver      Canucks         211   96    2.2    46    479

         San Antonio Spurs                 405     131    3.1      69    527     Los    Angeles     Kings       209   84    2.5    42    500

         Boston     Celtics                391     117    3.3      67    573     Tampa      Bay Lightning       199   85    2.3    48    565

         Sacramento        Kings           385     128    3.0      68    531     Anaheim       Ducks            197   89    2.2    43    483

         Philadelphia       76ers          380     112    3.4      75    670     New      Jersey Devils         195   65    3.0    55    846

         Toronto     Raptors               373     124    3.0      57    460     Ottawa     Senators            186   93    2.0    46    495

         Washington         Wizards        348     112    3.1      67    598     Minnesota      Wild            180   78    2.3    43    551

         Utah Jazz                         342     114    3.0      66    579     Chicago      Blackhawks        179   69    2.6    42    609

         New Jersey Nets                   338     102    3.3      68    667     San Jose Sharks                165   72    2.3    43    597

         Indiana     Pacers                333     107    3.1      67    626     Calgary      Flames            164   77    2.1    46    597

         Orlando     Magic                 322     92     3.5      65    707     Buffalo Sabres                 162   74    2.2    44    595

         Denver     Nuggets                321     104    3.1      70    673     Edmonton       Oilers          157   71    2.2    42    592

         Golden     State Warriors         309     103    3.0      69    670     Carolina     Hurricanes        156   68    2.3    42    618

         Minnesota        T Wolves         308     103    3.0      71    689     Pittsburgh    Penguins         155   67    2.3    34    507

         Memphis       Grizzlies           304     98     3.1      66    673     Florida Panthers               151   67    2.3    39    582

         Los Angeles        Clippers       294     98     3.0      63    643     Columbus       Blue Jackets    150   68    2.2    41    603

         Charlotte     Bobcats             287     93     3.1      46    495     New      York Islanders        149   60    2.5    45    750

         Atlanta    Hawks                  286     95     3.0      53    558     Atlanta    Thrashers           148   67    2.2    44    657

         New Orleans Hornets               272     91     3.0      58    637     Phoenix      Coyotes           147   67    2.2    43    642

         Seattle   SuperSonics             269     81     3.3      61    753     Washington        Capitals     145   66    2.2    35    530

         Milwaukee         Bucks           264     88     3.0      68    773     St Louis     Blues             144   66    2.2    38    576

         Portland    Trail      Blazers    253     82     3.1      82    1.000   Nashville Predators            143   65    2.2    43    662

         30    Team Average                372     119    3.1      69    577     30    Team    Average          200   81    2.5    44    544

         Coefficient       of              244     240     045 189 225           Coefficient       of           333   229    117 102 179
              Variation                                                               Variation


         Source      Forbes Pay includes           benefits     and bonuses




         NHL       has been           similar to the       NBA with a CV in 2006? 07 of 22.9 percent down from
         33 percent in the early 1990? s Variation                   in player costs among NHL clubs rose from

         25 percent          in the early        1990? s to 31 percent           just   before the 2004? 05 lockout               similar to


         MLB After                the     hard cap       NHL payroll variation dropped to 10.2 percent                        in 2006? 07

          similar to         NFL

                                                                                                                                  123
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         38                                                                                                                              J Vrooman



               In   summaryintra league variation                   in revenue ranges from 20 percent inMLB NHL

         and     NBA to ten percent                  in the    NFL Payroll variation ranges from 40 percent in MLB
         to   20 percent      in soft         cap    NBA and 10 percent              variation          in hard   cap    NFL and NHL This
         evidence         shows that revenue sharing and payroll caps                               are effective         controls       of revenue


         and     cost    distribution           If   revenue        sharing       and salary caps          affect       intraleague       revenues

         and costs then            the        important question concerns                  their        impact    on competitive           balance




         6.2     Competitive            Balance



         The dynamics              of    competitive             balance     are   captured        in    an auto regressive          _     estimate


         of continuity            of   winning        percentages          wi jt   for   team i in league           j   from season        t
                                                                                                                                               _ 1 to
         season      t



                                                            wi jt      _      _wi jt_ 1        _i jt




                              0 1 If _


         equations
         where       _ _                                   500 and _               0 then wi       jt        500 and each season                  is   a

         random walk where every team has an equal chance                                          to    win If _          0 and _             1 then
         wi jt           wi jt_   1 and season outcomes are predetermined                                    Separate       regression


                    were estimated using binary interaction                              variables to        test   for differences            among
         the     four leagues           for   each of three phases phase                  1   1971? 83 phase 2                    1984? 95 and
         phase      3 1996? 2007                 _    estimates for each           league     in the three phases            are   shown along
         the     diagonal of the matrix in Table                        7 and differences                between        league    _ coefficients
         are     shown in respective                 off diagonal cells Separate equations were then estimated for

         each league using binary interaction                           variables to test for differences of                     the beta in each

         phase from the overall                      1971? 2007 period
               The betamatrix                leads   to the following observations                      NFL beta declines significantly
         from 530 in phase                    1 to 286 in phase              3 Phase 1 competitive                  balance       is statistically

         the     same     in all   leagues           except      for the    NHL with _
                                                               749 NHL phase 1 imbalance
         is matched by NBA dynasties in phase 2 where _        716 The NFL is statistically
         the most balanced of all leagues in phase 3 by a _ margin of at least 250 MLB beta


         estimates are greater                  than       500 in phases 1 and 3 but significantly lower                                 during   the

         pre strike chaos               in    phase    2 NBA becomes                more imbalanced during phase 2 after the
         implementation                of the       soft   cap   in   1984 and then its _ drops during phase 3 NHL?s _
         decreases         significantly             from phase         to phase and differs only from the NFL in phase

         3 NHL _                       556     is    270     greater       than    NFL _                286 The widest off diagonal
         margin of separation occurs                        in   phase 2 between          MLB chaos and NBA dynasty MLB
         _     313 is 404 less than NBA _    716 The most unbalanced leagues have been
         the NHL in phase 1 and the NBA in phase 2 and the NFL has clearly become the most
         balanced league in phase 3

               Competitive             balance       _ coefficients were also estimated for each season 1971? 2007




         balanced
         and     separately             four major leagues in Figs 5? 8 The three phases of
                                   mapped            for the

         NFL _ balance             AFL NFL merger in 1970 can be seen in Fig5 Imbalance
                                       since    the

         of the 1970s is modified by major increases in shared TV rights fees in 1982 and


                     scheduling          after       1987     Increased       parity     of the NFL           _     _ 25         after   1998 was
         the     combined         result of the            TV rights explosion in 1998 and the hard salary cap with a


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         Theory   of the   Perfect   Game                                                                                                                               39




                                                                                                                                8.09
                                                                           3
                                                                                                                          556




                                                                                                                                9.71
                                                                           2                                              597




                                                                                                                                12.5
                                                                           1
                                                                     NHL                                                  749




                                                                                                                                88     221




                                                                                                                   15.0
                                                                                                                          071


                                                                           3
                                                                                                             626
                                                                                                                          __
                                                                                                                                       R2




                                                                                                                                        1383
                                                                                                                                1.61
                                                                                                                   17.4
                                                                                                                          __ N
                                                                                                                          119


                                                                           2                                 716




                                                                                                                                       1996? 2007
                                                                                                                                                    05
                                                                                                                   9.66



                                                                                                                                2.00
                                                                                                                                                    at
                                                                     NBA
                                                                           1                                 580          170




                                                                                                                                                    period
                                                                                                                                       3 Phase

                                                                                                                                                    from overall
                                                                                                      6.00




                                                                                                                   95 023 20
                                                                           3                    513          093

                                                                                                                                       316




                                                                                                                                       R2
                                                                                                                                                      different
                                                                                                      3.26



                                                                                                                   3.87



                                                                                                                                2.49


                                                                                                                                        1309




                                                                           2                    313          404          284




                                                                                                                                       N
                                                                                                                                                      significantly




                                                                                                                                       95
                                                                                                      6.06




                                                                                                                                1.55




                                                                                                                   04
                                                                           1
                                                                     MLB                        575
                                                                                                                                         1983?




                                                                                                             004          174
                                            Beta Matrix 1971? 2007




                                                                                                                                       2
                                                                                                                                                    Phase
                                                                                                                                         Phase
                                                                                         8.43


                                                                                                      2.60


                                                                                                                   6.34


                                                                                                                                3.53




                                                                                                                                                 __
                                                                           3       286          247          341          270

                                                                                                                                                    05
                                                                                                                                       345
                                                                                                                                                    at
                                                                                                                                                      Significant
                                                                                         14.3




                                                                                                                   5.22



                                                                                                                                2.18




                                                                                                133 1.3                                R2
                                                                           2
                                                                                   447
                                                                                                __           270          150
                                            Balance




                                                                                                                                        1040




                                                                                                                                                 _
                                                                                                                                       N
                                                                                                                                                    parentheses
                                                                                         16.4


                                                                                                      0.45


                                                                                                                   0.72


                                                                                                                                3.20
                                            Competitive




                                                                     NFL
                                                                           1       530          045          049          219          82
                                                                                                                                         1971?




                                        7                                                                                              1            in
                                                                                                                                                      ratios
                                                                           Phase




                                                                                                                                         Phase
                                            Table




                                                                                   NFL          MLB          NBA          NHL
                                                                                                                                                    t

                                                                                                                                                                      123
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         40                                                                                                                     J Vrooman


                       1.00




                       0.75




                       0.50




                       0.25




                       0.00

                               1970         1975           1980       1985       1990        1995          2000          2005


         Fig 5     National     Football    League




                       1.00




                       0.75




                       0.50




                       0.25




                       0.00
                           1970             1975        1980          1985       1990        1995          2000          2005


         Fig 6     Major League Baseball




                                                                                                        48
         delay equal to            the   average       NFL contract length of four years                     The       history of   MLB
         betas    in   Fig 6 shows balance                  _     _5    also evolving       in three       stages Randomization

         of    MLB competition _                   _   0    in    pre strike phase 2 was        the   result      of   1990 TV rights
         surge    flowing         through        a three tier bottleneck         in the   baseball players? labor               market   as

         discussed        in   Vrooman           1996
               The NBA _ path in Fig 7 traces the                      effects   of planned      competitive           imbalance from

         the    soft   cap during          the   NBA dynasty era The               recent    NBA shift toward a more bal


         48
            The hard NFL cap can be avoided temporarily by prorating player bonuses over the life of a contract
         A prorated bonus  carried forward as ?dead money? that cannot be paid out under future caps Hence the
                                  is



         NFL hard cap can be avoided in the short run but the amount over the cap now must equal the amount
         under the cap    later    The average contract length         suddenly jumped from three     to   four years immediately after

         the   hard cap   in   1994      Competitive    chaos in the NFL after 1999       is the direct result    of the hard cap with a

         four year contract        delay




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         Theory    of the   Perfect   Game                                                                                               41




                        1.00




                        0.75




                        0.50




                        0.25




                        0.00

                            1970           1975           1980       1985          1990          1995       2000         2005


         Fig 7     National      Basketball    Association



                        1.00




                        0.75




                        0.50




                        0.25




                        0.00
                            1970           1975           1980       1985          1990          1995       2000         2005


         Fig 8     National      Hockey    League




         anced     league        since     2002? 03 shows the               effects   of   the    luxury tax       as   hard    cap   NHL
         betas     in   Fig 8 show             a   gradual       reduction    in   competitive          imbalance       during    Sunbelt

         expansion followed                by _      _5      after the      2004?     05 lockout and hard cap When MLB
         competition           hit   _ zero before          the   1994? 95 strike          MLB was in a state of chaos with
         equally    bad teams beating one another Similar parity in the NFL                                        _   _ 25      in   phase

         3 reflects teams? being                   torn   apart    by the    intolerance     of a hard       payroll      cap    Efficient

         _ balance        lies    between          themediocrity      of    NFL parity and determinism ofNBAdynasty
              25 _ _ _         75




         revenue
         7 Conclusion


         If   team owners are             profit     maximizers then the invariance                     proposition      holds that

                  sharing        leads    to   player exploitation           and does not         affect   competitive         balance   If




                                                                                                                                123
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         42                                                                                                                                         J Vrooman




         Empirical
         owners are win maximizersinstead




         exploitation
         sharing among sportsmen can

                evidence           from sports leagues
                                                              increase
                                                                          then competition



                                                                     defies the logic

                    and profit maximization There is contrary evidence
                                                                                                           ismore unbalanced but revenue

                                                                               balance league revenues and payrolls

                                                                                                   of competitive invariance

                                                                                                                that American                sports leagues


         have       become dominated by sportsmen since 1990 As the result of internal competition
         among sportsman owners                         monopsonistic                 exploitation           has      virtually       vanished           over the

         last decade          in all    leagues All leagues                   have     similar       carrying         capacities            for player costs

         at    two thirds of revenues                  and     current        payroll cap           percentages             are almost             identical     at


         about       60 percent
               As expected revenue sharing in sportsman leagues                                            fosters competitive                balance        with

         or    without       joint     implementation               of salary          caps The NFL has imposed a hard                                     salary

         cap since 1994 and shared                      two thirds of its revenue                      since the         early 1960?           s As a fully




         overhauled
         diversified         ? perfect portfolio? the                 NFL has become                  the most balanced                      and    wealthiest
                                                        49
         sports       league       in the    world           In    2001       MLB claimed losses of                            5 billion on revenues
         of     3.5 billion         to justify       contraction          of    two teams Instead of contraction                                MLB
                      its   revenue sharing scheme                       in    2002 and 2006 By 2007 MLB                                     reported       gross

         revenues          over      6 billion        rapidly closing                on the    NFL at           7 billion




         insufficient
               Each league           still   has internal revenue               and cost distribution                  problems At one extreme

         the    NFL is almost too perfect An intolerant                                    ten     percent       NFL payroll range is
                      for a natural           team talent payroll cycle                      to    evolve       NFL teams are prematurely
         torn       apart to      create     chaotic mediocrity                 rather       than     competitive              balance         At the other
         extreme        MLB is the only league without                               a payroll cap This results in distorted                                MLB
                                                                                                                                       50
         payroll distribution                 with     a greater         variance than               revenue          variance               The season          is




         systems
         over before it begins for the bottom                           half    ofMLB In the absence of significant revenue
         sharing theNBAtax and                        NHL payroll range create competitive balance at the expense
         of the      players? share           of revenues

               These        problems can             be solved with modified revenue sharing payroll range

                    similar to that of           the    NFL First              all    leagues        should share              at    least    50 percent         of

         total      revenue       after private        venue        costs     in a straight pool               system51 Second                     the payroll

         range       should be simplified to                   a maximum cap                  of    two thirds of league                     revenue        and a




         49
               Sportsman      salary   compression      is greater in European             football    where revenue sharing                  solidarity     is less


         and competitive          imbalance    is    much                        772 English Premier
                                                             higher Big Five _ since               1995     Italian   Serie    A
         League   769 Spanish La Liga 597 German Bundesliga 549 and French Ligue 1 455 next four next
         smaller leagues Netherlands 773 Portugal 752 Belgium 687 and Scotland    746 See Vrooman
          2007
         50
               In 2000 the MLB          Blue Ribbon         Committee         recommended           that   MLB share 50 percent of local revenue
         and proposed a 50 percent luxury tax                  to cap    payrolls The CBT threshold                   was      84 millionand         a   minimum
          40 million in 1999           when    the    average team revenue             was     93 million This           sets the     tax cap      at    90 percent

         and    a   minimum at 43 percent            of revenue         The    CBT amounts           to a   NY Yankee tax             that   has no impact       on

         competitive        balance

         51
               Venue cost deduction          creates   cost revenue symmetry within                   the league       which        encourages      privatization


         and reduces venue          relocation extortion           The New      York Mets      are    paying 42 percent of             771 million CitiField

          2009       and    the   New York Yankees are paying                 52 percent      of    1 billion   New Yankee            Stadium      2009 Both
         teams deduct         venue depreciation        costs      from   local      revenue before         applying     the    31 percent      MLB revenue
         sharing     formula       The New     York Jets and Giants are paying                 76 percent       of their    joint effort       1.7 billion New

         Meadowlands          Stadium        2010 with       the   help of      300 million NFL            G   3 loan repaid         from the visitors? share

         of   luxury seat fees




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         Theory     of the     Perfect   Game                                                                                                                    43




         development
         minimum of 50 percent                     of   revenue             75 percent            of the      cap The parameters for the three
         capped       leagues          set   a    reasonable payroll range                          for       MLB excluding player
                   expenses Based on 2006 MLB numbers from Table 4 the proposed two thirds
         payroll         cap    of     113 million in MLB would                               clip the           highrolling           NY Yankees NY



         Statutory
         Mets and Boston Red Sox and the 50 percent minimum of                                                                 85 million would boost
         the    bottom feeding six payrolls
               As monopsony power has receded majorleague monopoly power has surged
                   cartelization             of   TV rights has resulted in the siphoning of exclusive broadcasts
         from network             to cable        to satellite         and led to vertical                    integration      of teams and           leagues    as




         exemption
         broadcasting networks                     Quasi public monopoly leagues have crossed                                              the line between

         private     matters of internal governance                                and the         external          realm of public            policy Future

         policy      should          revisit      statutory           monopoly             power granted                 through          the   SBA
                  and     reconsider the            anti competitive                     effects         of   public     venue       subsidies        leveraged

         through limited opportunities                           for       league expansion and                      extortion        threats     of franchise




         sharing
         relocation

               Optimal competitive balance                            is   an empirical question complicated by                                 sports leagues

         as naturally           cooperative             cartels Theory                   implies that revenue                   sharing         in   profit max

         leagues         is inefficient           because        it    increases           monopsony                 power      and    yet      revenue

                is efficient         in sportsman              leagues       because          it    increases          competitive         balance Future

         research         should determine                the     blend of cooperation                          and competition            that      maximizes

         social     welfare          in professional sports leagues                          In theory the perfect                   game is a symbiotic
         contest         between         evenly matched                    opponents               but    in practice          the    perfect        game is an
         evenly matched contest                     between chance                      and fate




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